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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA

   DCCC, et al.,
                                          Plaintiffs,
                                                        Case No:    20-CV-211-JED-JFJ
   v.

   PAUL ZIRIAX, in his official capacity as SECRETARY
   OF THE OKLAHOMA STATE ELECTION BOARD, et
   al.,
                                        Defendants.




                   DEFENDANTS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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           Pursuant to this Court’s Order, Doc. 51, Defendants submit the following proposed findings of

   fact and conclusions of law for the final judgment in this case.

                                                FINDINGS OF FACT

           I.      OKLAHOMA ELECTION LAWS

           1.      Oklahoma provides numerous ways to cast a ballot. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 6-

   19.

           2.      Every registered voted in Oklahoma can cast a ballot in person. Doc. 48, Ex. 2, Ziriax

   Decl. ¶ 8. Voting in person is available from 7:00 am until 7:00 pm on Election Day. OKLA. STAT. tit.

   26, § 7-114.

           3.      To vote in person, an Oklahoma voter must show identification or cast a provisional

   ballot accompanied by a signed affidavit. Doc. 48, Ex. 2, Ziriax Decl. ¶ 8; OKLA. STAT. tit. 26, § 7-114.

   Acceptable identifications include any official photo identification issued by the federal, the State, or any

   federally-recognized tribal government, with a name and expiration date that has not lapsed, or the free

   ID card issued by county election boards. Id.

           4.      Oklahomans can also vote in-person prior to Election Day. Doc. 48, Ex. 2, Ziriax Decl.

   ¶ 9; OKLA. STAT. tit. 26, § 14-115.4. In-person absentee voting for all elections occurs on the Thursday

   and Friday before Election Day from 8:00 a.m. to 6:00 p.m., and on the Saturday before Election Day

   from 9:00 a.m. to 2:00 p.m. if a federal or state office is on the ballot for that county. Id.

           5.      Oklahomans can also vote by absentee ballot. Doc. 48, Ex. 2, Ziriax Decl. ¶ 10; OKLA.

   STAT. tit. 26, § 14-105. Unlike some other states, Oklahoma makes absentee ballots available to any

   registered voted without an excuse. Id. And unlike some other states, Oklahoma does not require

   signature matching, notarizations, or photo ID to apply for an absentee ballot. Doc. 48, Ex. 2, Ziriax

   Decl. ¶ 11; OKLA. STAT. tit. 26, § 14-106.



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            6.      Voters can request an absentee ballot through the online voter portal, e-mail, fax, or U.S.

   mail. Doc. 48, Ex. 2, Ziriax Decl. ¶ 11; OKLA. STAT. tit. 26, §§ 14-103, 14-105.

            7.      Absentee ballots are mailed to voters as early as 45 days before an election. Doc. 48, Ex.

   2, Ziriax Decl. ¶ 12; OKLA. STAT. tit. 26, § 14-121.1. Some counties mail absentee ballots even earlier.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 12.

            8.      Uniform and overseas voters who request an absentee ballot within 45 days of an

   election are sent a ballot within 48 hours of their request. Doc. 48, Ex. 2, Ziriax Decl. ¶ 13; OKLA. STAT.

   tit. 26, § 14-121.1.

            9.      Absentee ballots can be requested any time up to 5:00 p.m. on the Tuesday before the

   election. Doc. 48, Ex. 2, Ziriax Decl. ¶ 11; OKLA. STAT. tit. 26, § 14-103.

            10.     Absentee ballots must be received by 7:00 P.M. on Election Day. OKLA. STAT. tit. 26,

   § 14-104 (the “Ballot Receipt Deadline”).

            11.     Voters who become incapacitated after 5:00 p.m. on the Tuesday before the election can

   still vote through other special procedures. Doc. 48, Ex. 2, Ziriax Decl. ¶ 11; OKLA. STAT. tit. 26, § 14-

   115.1.

            12.     Voters who work as first responders or emergency workers and are called to assist with

   a declared natural disaster or state of emergency within the ten days before an election may request an

   emergency absentee ballot. Doc. 48, Ex. 2, Ziriax Decl. ¶ 16; OKLA. STAT. tit. 26, § 14-115.6.

            13.     A standard absentee ballot may be returned by mail or in person by the voter. Doc. 48,

   Ex. 2, Ziriax Decl. ¶ 14; OKLA. STAT. tit. 26, § 14-108.

            14.     A voter’s spouse can mail the voter’s absentee ballot. Doc. 48, Ex. 2, Ziriax Decl. ¶ 14.

   Otherwise, Oklahoma law has generally not permitted third parties to submit absentee ballots or




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   absentee ballot applications on behalf of a voter. Doc. 48, Ex. 2, Ziriax Decl. ¶ 24; Doc. 47, Ex. 4, Ziriax

   Depo. 155:13-16.

           15.     In 2020, Oklahoma clarified when third parties may assist voters with absentee ballots

   and when handling another person’s absentee ballot is prohibited as illegal ballot harvesting. See OKLA.

   STAT. tit. 26, §§ 14-101.1, 16-104.1, 16-126 (“Ballot Harvesting Laws”). These Ballot Harvesting Laws

   were passed with near-unanimous bipartisan majorities, including almost all legislative members of

   Plaintiff Oklahoma Democratic Party. Doc. 47, Ex. 11, Andrews Depo. 49-51. Ballots generally must

   remain in the custody of one of three persons: with the voter, with election officials, or with the U.S.

   Postal Service or a commercial mail carrier. OKLA. STAT. tit. 26, §§ 14-101.1, 14-108. Oklahoma law

   does not prohibit as illegal ballot harvesting a voter’s spouse from returning the voter’s absentee ballot

   by mail; a spouse, relative in the first or second degree of consanguinity or affinity, or cohabitant of a

   voter who forwards an absentee ballot to the voter when absent from the home; or other assistance that

   is specifically authorized by Title 26 of the Oklahoma statutes such as authorized assistance in nursing

   homes or assistance provided by the caregivers of physically incapacitated voters. Id. And third parties

   are allowed to gift voters a free stamp or envelope to assist with absentee voting. Id. at § 16-106.

           16.     Voters who are physically incapacitated or care for a physically incapacitated voter may

   elect to use the physically incapacitated voter’s absentee ballot, which must be returned by mail. Doc.

   48, Ex. 2, Ziriax Decl. ¶ 14 & n.5; OKLA. STAT. tit. 26, §§ 14-110.1, 14-113.2.

           17.     Like the vast majority of states, Oklahoma conducts some method of voter verification

   for returned absentee ballots. Doc. 48, Ex. 2, Ziriax Decl. ¶ 14. Oklahomans have three options for

   verifying their absentee ballot, described below. OKLA. STAT. tit. 26, §§ 14-108, 14-113.2; Doc. 48, Ex.

   2, Att. 3, S.B. 201 § 3 (collectively, the “Ballot Verification Laws”). Oklahoma has had voter verification

   requirements for absentee ballots since at least 1941. Doc. 48, Ex. 2, Ziriax Decl. ¶ 17.



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             18.     For standard absentee ballots, a voter typically must have the ballot notarized. Doc. 48,

   Ex. 2, Ziriax Decl. ¶ 14; OKLA. STAT. tit. 26, § 14-108(A). Under Oklahoma law, notaries cannot charge

   a fee for notarizing an absentee ballot. Doc. 48, Ex. 2, Ziriax Decl. ¶ 14; OKLA. STAT. tit. 26, § 14-108(A).

   There are over 76,000 notaries in the State and they are available in every county. Doc. 18, Am. Compl.

   ¶ 50; Tr. 62:13-17. 1 In addition to this, as described below, the Election Board has published a list of

   over a hundred institutions across the state offering free notary services, including drive-through

   services, during the COVID-19 pandemic. See infra FOF ¶ 40.

             19.     For the physically incapacitated voter’s absentee ballots, a voter may have the ballot

   signed by two witnesses. Doc. 48, Ex. 2, Ziriax Decl. ¶ 14; OKLA. STAT. tit. 26, §§ 14-113.2, 14-114, 14-

   115.1.

             20.     When voters in a nursing home or veterans center request an absentee ballot, their ballot

   can be witnessed by the absentee voting board sent to deliver their ballots to them. Doc. 48, Ex. 2, Ziriax

   Decl. ¶ 14; OKLA. STAT. tit. 26, §§ 14-115.

             21.     For emergency absentee ballots, the voter must present one of the proofs of identity

   acceptable for in-person voting. Doc. 48, Ex. 2, Ziriax Decl. ¶ 16; OKLA. STAT. tit. 26, § 14-115.6.

             22.     In May 2020, the Oklahoma Supreme Court interpreted an existing provision in the

   State’s Civil Procedure Code (Title 12) to allow voters to sign an affidavit under penalty of perjury in

   lieu of the notarization required by the Election Code (Title 26). League of Women Voters of Oklahoma v.

   Ziriax, 463 P.3d 524 (Okla. 2020). However, no election prior to this decision had ever been conducted

   in Oklahoma using this process for ballot verification, nor any since. Three days after the decision, the

   Legislature enacted S.B. 210, abrogating this decision by clarifying the law to require notarization for




   1
       “Tr.” refers to the transcript of the evidentiary hearing in this case conducted on August 26, 2020.

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   standard absentee ballots, but providing the ID photocopy alternative described below. Doc. 48, Ex. 2,

   Att. 3, S.B. 210 §§ 1-2.

           23.      Aside from the new option for ballot verification during the COVID-19 pandemic

   discussed below (attaching a copy of a valid voter ID), Oklahoma does not have any mechanism or

   procedure for verifying ballots, such as by matching signatures, beyond these requirements. Doc. 48,

   Ex. 2, Ziriax Decl. ¶ 15. Oklahoma also does not currently have the infrastructure to facilitate and

   implement any mechanism or procedure for verifying signatures. Id.

           II.      CHANGES TO VOTING DURING COVID-19

                    A.        In-Person Voting during COVID-19

           24.      Oklahoma Election Board Secretary Paul Ziriax and his office have worked with the

   University of Oklahoma’s Health Sciences Center to develop safety protocols for Oklahoma’s nearly

   2,000 polling places and 77 county election boards, including social distancing and sanitation procedures.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 7; Id. Att. 1.

           25.      The protocols for in-person voting include:

                    a.        marking 6-foot social distancing guides,

                    b.        signage to maintain such distancing,

                    c.        6-foot distancing between voting booths or usage of alternating booths,

                    d.        distancing between election officials and voters,

                    e.        hourly wiping down of voting equipment with alcohol (with more frequent

                              disinfection for commonly-touched surfaces),

                    f.        poll worker hand washing and sanitizing,

                    g.        avoidance of direct contact between poll workers and voters, and

                    h.        contactless voter ID checks.



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   Doc. 48, Ex. 2, Ziriax Decl. ¶ 7; Id. Att. 1.

           26.      Poll workers at every polling location are supplied with disinfectant and with personal

   protective equipment (PPE), including masks and gloves. Doc. 48, Ex. 2, Ziriax Decl. ¶ 7; Id. Att. 1.

           27.      Voters are asked to be patient and to follow signage and procedures. Doc. 48, Ex. 2,

   Ziriax Decl. ¶ 7; Id. Att. 1.

           28.      Oklahoma election officials do not deny a person the right to vote because they are not

   wearing a mask, but they strongly recommend that voters wear a mask to protect themselves and those

   around them. Doc. 48, Ex. 2, Ziriax Decl. ¶ 7; Id. Att. 1. Although there is no statewide mask mandate,

   some counties have implemented mask mandates. Tr. 19:18-19.

                    B.       Absentee Voting during COVID-19

           29.      The state made numerous adjustments to its absentee voting laws in light of the

   COVID-19 pandemic.

           30.      First, during the 2020 COVID-19 pandemic, if a state of emergency is declared within

   45 days of an election, voters have an additional option to verify their absentee ballot: voters using either

   the standard absentee ballot or the physically incapacitated voter’s absentee ballot may return a copy of

   an acceptable proof of identity for voting in lieu of the notarization or witnessing requirements. Doc.

   48, Ex. 2, Ziriax Decl. ¶ 15; Id. Att. 3 (SB 210, 2020 Okla. Sess. Laws 10), § 3.

           31.      On August 28, 2020, the Governor of Oklahoma declared a state of emergency due to

   the COVID-19 pandemic that extends at least through September 27, 2020. Fourth Amended Executive

   Order 2020-20, Aug. 28, 2020, https://www.sos.ok.gov/documents/executive/1956.pdf. Because this

   period of declared emergency will be in effect 45 days prior to the November 3, 2020 general election,

   the above-described alternative ballot verification procedures will be available to voters for the

   November 3, 2020 election.



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           32.     Second, the definition of physically incapacitated was expanded to include the following

   categories:

                   a.       “The voter has tested positive for COVID-19 and is receiving medical treatment

           or is subject to a quarantine ordered by the voter’s personal physician or the county health

           department;

                   b.       “The voter has been tested for COVID-19 and is quarantined or self-isolating

           while awaiting results of the test;

                   c.       “The voter has symptoms of COVID-19, as defined by the Centers for Disease

           Control and Prevention (CDC), and has been advised by the voter’s personal physician or the

           county health department to quarantine or self-isolate.

                   d.       “The voter is a member of a group considered at ‘higher risk of severe illness’

           due to age or underlying health conditions as defined by the CDC, and as such is subject to a

           ‘stay at home’ or ‘safer at home’ or similar order by the Governor or by an authorized municipal

           authority; or

                   e.       “The voter has received a written recommendation from the voter’s personal

           physician that due to an underlying health condition the voter should not leave his or her home

           due to the COVID-19 pandemic.”

   Doc. 48, Ex. 2, Ziriax Decl., Att. 3 (SB 210, 2020 Okla. Sess. Laws 10), § 3(C). As a result, voters who

   fall within any of these categories during the 2020 general election will have the option of choosing a

   physically-incapacitated absentee ballot (which requires two witness signatures or a copy of ID to verify)

   instead of a standard absentee ballot (which requires notarization or a copy of ID to verify).




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           33.     Third, absentee voting boards may now assist incapacitated voters in nursing homes and

   veterans centers in completing and verifying their ballots. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18 & Att. 2 (SB

   1779, 2020 Okla. Sess. Laws), § 9.

           34.     Fourth, if an absentee voting board is restricted from entering a nursing home or veterans

   center due to COVID-19 restrictions, county election officials may appoint employees already within

   the nursing home or veterans center to deliver and witness ballots in lieu of an absentee voting board.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 14 & n.7; Id. Att. 3 (SB 210, 2020 Okla. Sess. Laws 10), § 3(B).

           35.     Fifth, the State Election Board can now spend federal and state funds to assist county

   election boards with increased costs during the pandemic, including for PPE, disinfecting supplies, and

   educational materials for social distancing. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18; Id. Att. 2 (SB 1779, 2020

   Okla. Sess. Laws), § 3.

           36.     Sixth, the poll worker pool is increased during the pandemic because public employees

   can receive up to 3 days of paid leave to serve as poll workers, and the number of publicly-owned

   facilities that can be used as polling places was expanded. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18; Id. Att. 2 (SB

   1779, 2020 Okla. Sess. Laws), §§ 4-5.

           37.     Seventh, some restrictions on notaries public concerning absentee ballots have been

   loosened. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18; Id. Att. 2 (SB 1779, 2020 Okla. Sess. Laws), § 8.

           38.     Eighth, new bipartisan special absentee voting boards will assist with receiving and

   reviewing absentee ballots. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18; Id. Att. 2 (SB 1779, 2020 Okla. Sess. Laws),

   § 11.

           39.     Ninth, new amendments to Oklahoma law clarify that third parties may gift an envelope

   and/or a stamp to a voter. Doc. 48, Ex. 2, Ziriax Decl. ¶ 18; Id. Att. 2 (SB 1779, 2020 Okla. Sess. Laws),

   § 13.



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           40.     Tenth, Secretary Ziriax and his office have taken numerous steps to facilitate voting

   during the pandemic. Doc. 48, Ex. 2, Ziriax Decl. ¶ 19. Scores of banks, credit unions, and other

   institutions across the state are offering free notarization and/or ID copying services. Id. These free

   notarization and/or ID copying services include drive-through services. Id. The list of places available

   for free services is available online to voters. Id.; https://www.ok.gov/elections/Notary_Services.html.

   Voters can also watch online video tutorials on absentee voting. Doc. 48, Ex. 2, Ziriax Decl. ¶ 19;

   https://www.ok.gov/elections/Media/Videos/index.html.

           III.    COVID-19 AND THE RISKS OF VOTING DURING THE PANDEMIC.

           41.     The medical experts in this case agree that the primary way that COVID-19 is contracted

   is when the secretions or saliva of an infected person are projected, such as through coughing or

   sneezing, and come into contact with the mucous membranes of another person. Doc. 48, Ex. 1, Barie

   Decl. ¶ 5; Doc. 47, Ex. 1, Troisi Decl. ¶¶ 11, 18.

           42.     The secondary—and significantly more rare—way that COVID-19 is contracted is by

   touching an infected surface (“fomites”) and then touching a mucous membrane. Doc. 48, Ex. 1, Barie

   Decl. ¶ 6; Doc. 47, Ex. 1, Troisi Decl. ¶ 11; Tr. 27:13–28:1.

           43.     There are no other known ways of contracting COVID-19. Doc. 48, Ex. 1, Barie Decl.

   ¶ 7; Doc. 47, Ex. 1, Troisi Decl. ¶ 11.

           44.     The droplets from the primary form of transmission are relatively heavy and are distinct

   from lighter droplets such as “aerosols.” Doc. 48, Ex. 1, Barie Decl. ¶¶ 5, 7; Doc. 47, Ex. 1, Troisi Decl.

   ¶ 18; Tr. 26:7-22. Current experimental studies are examining whether COVID-19 may be transmitted

   through aerosols—fine particles suspended in the air—or through fecal matter. Doc. 48, Ex. 1, Barie

   Decl. ¶ 7; Doc. 47, Ex. 1, Troisi Decl. ¶ 11. The evidence on transmission by fine particles suspended in




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   the air is mixed, and no studies have yet found a viable virus in air samples near infected patients. Doc.

   48, Ex. 1, Barie Decl. ¶ 7; Tr. 26:23–27:12.

           45.     Proper measures to avoid transmission include ensuring that close interaction with

   persons is for 15 minutes or less, social distancing of six feet or greater, mask wearing, regular

   handwashing, and sanitizing frequently touched surfaces. Doc. 48, Ex. 1, Barie Decl. ¶¶ 5-6; Doc. 47,

   Ex. 1, Troisi Decl. ¶¶ 17-19; Tr. 28:22–29:3. Social distancing of six feet or greater is a proven method

   to stop the spread of COVID-19. Doc. 48, Ex. 1, Barie Decl. ¶ 13; Doc. 47, Ex. 1, Troisi Decl. ¶ 18.

           46.     Voters who are the most at-risk from contracting COVID-19 are older adults, generally

   more than 65 years old, and especially those who are in a nursing home or who are over 85 years old;

   and those who have a major underlying medical condition such as diabetes mellitus. Doc. 48, Ex. 1,

   Barie Decl. ¶ 8; Doc. 47, Ex. 1, Troisi Decl. ¶ 13.

           47.     Voters outside those high risk categories have a much lower risk of severe infection even

   if they do contract COVID-19. Doc. 48, Ex. 1, Barie Decl. ¶ 9.

           48.     Dr. Barie estimates the number of patients who experience no symptoms from COVID-

   19 (“asymptomatic”) are around 40%. Doc. 48, Ex. 1, Barie Decl. ¶ 9. He also estimates of the number

   of patients who experience only mild to moderate symptoms from COVID-19 are around 81%. Doc.

   48, Ex. 1, Barie Decl. ¶ 9. Dr. Troisi provides a slightly different measure and estimates that 40-45% of

   infected individuals will either never show symptoms or have mild symptoms, but does not estimate

   how many will only experience moderate symptoms. Doc. 47, Ex. 1, Doc. 47, Ex. 1, Troisi Decl. ¶ 15.

           49.     Current estimates of the fatality rate from COVID-19 is 0.65%. Doc. 48, Ex. 1, Barie

   Decl. ¶ 9.




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                   A.      Risks of Voting in Person during COVID-19

           50.     In Oklahoma, the chance of any given individual interacting with someone actively

   spreading COVID-19, contracting the disease, and experiencing severe symptoms is very low. Doc. 48,

   Ex. 1, Barie Decl. ¶ 10. The number of confirmed active cases in the state as of August 17, 2020 are only

   0.19% of the population. Id. Current hospitalizations are around 0.014% of the population, and ICU

   admissions are around 0.006% of the population. Id.

           51.     The mortality rate for infected Oklahomans who are not residents of a long-term care

   facility has been less than 1%, and for all Oklahomans about 1.4%. Doc. 48, Ex. 1, Barie Decl. ¶ 10; Tr.

   18:21-23.

           52.     Dr. Barie opined that, in general, voting in-person at a polling place in Oklahoma poses

   a low risk for contracting a serious case of COVID-19. Doc. 48, Ex. 1, Barie Decl. ¶ 11, 22. Dr. Troisi

   opined that in-person voting poses a “risk,” but did not characterize that risk as either low or high,

   minimal or great. Doc. 47, Ex. 1, Troisi Decl. ¶¶ 2, 30; Tr. 29:19-22.

           53.     In addition, Oklahoma has implemented numerous protocols to make in-person voting

   safer during the COVID-19 pandemic. See supra FOF ¶¶ 24-28. The only expert in this case to review

   Oklahoma’s protocols for in-person voting—Dr. Barie—concluded that, if followed, “the risks of

   contracting a serious case of COVID-19 from in person voting will be minimal.” Doc. 48, Ex. 1, Barie

   Decl. ¶¶ 11, 14. Dr. Troisi believes that there is a heightened danger for transmission of COVID-19 at

   the polling place, but she based this conclusion on the assumption that voters “cannot maintain physical

   distancing” at the polling place, which is inconsistent with Oklahoma’s polling place protocols. Compare

   Doc. 47, Ex. 1, Troisi Decl. ¶ 20; Tr. 35:7-10 with Doc. 48, Ex. 2, Ziriax Decl., Att. 1. Dr. Troisi admits

   she has not reviewed Oklahoma’s polling place protocols. Tr. 34:16–35:1. Dr. Troisi agrees that

   maintaining social distancing, wearing masks, and regular sanitation would decrease the probability of



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   transmission. Tr. 35:18–36:15. Both experts agree that measures contained in Oklahoma’s protocols—

   such as maintaining at least six feet of social distancing—are a proven method of stopping the spread

   of COVID-19. Doc. 48, Ex. 1, Barie Decl. ¶ 13; Doc. 47, Ex. 1, Troisi Decl. ¶ 18.

           54.      Dr. Troisi also believes there is a risk of contracting COVID-19 from touching surfaces

   while casting an in-person ballot, such as a polling machine screen. Doc. 47, Ex. 1, Troisi Decl. ¶¶ 20,

   30; Tr. 35:7-10. But she agrees that this is not the primary route of transmission of COVID-19; that

   Oklahoma does not use touch-screen voting but instead uses the safer paper ballot method; that

   COVID-19 cannot be transmitted through the skin; and that in order for transmission to occur this way

   a voter would have to choose to touch his or her eyes, nose, or mouth after touching a contaminated

   surface but before washing or otherwise sanitizing his or her hands. Doc. 47, Ex. 1, Troisi Decl. ¶ 11;

   Tr. 27:13–28:1, 31:17-23, 44:22–45:10. Thus, preventing this form of transmission is entirely within the

   control of the voter.

           55.      Scientists conducted several studies of the April 7, 2020 election in Wisconsin and its

   effect on the spread of COVID-19. Doc. 48, Ex. 1, Barie Decl. ¶ 15. It is undisputed that the bulk of

   these studies concluded that there was “[n]o clear increase in cases, hospitalizations, or deaths [] observed

   after the election”; “no increase in COVID-19 new case daily rates … as compared to the US[] during

   the post-incubation interval period”; and “no evidence to date that there was a surge of infections due

   to the April 7, 2020 election in Wisconsin.” Id. It is more likely that the same will be true in Oklahoma

   for the November 2020 election because of increased knowledge about the virus and how to prevent its

   spread; specifically, the Wisconsin election took place before broad recommendations to wear masks

   were issued. Id. at ¶ 16.




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           56.     It is undisputed in this record that studies of recent large public events indicate that large

   in-person events can occur without negative public health consequences. Doc. 48, Ex. 1, Barie Decl.

   ¶ 17.

           57.     In Oklahoma, it is undisputed that the June 30, 2020 primary was not correlated with an

   increase in the incidence of new COVID-19 cases. Doc. 48, Ex. 1, Barie Decl. ¶ 18. Oklahoma health

   data from two weeks before and two weeks after the June 30, 2020 primary election confirms that voting

   in person in Oklahoma was not associated with an increased incidence of new cases of COVID-19. Id.

   In fact, the increase in COVID-19 cases slowed down after the June primary. Id. Nor is there any

   evidence that any Oklahoman contracted COVID-19 from voting in-person in the June 2020 primary.

   Id.

           58.     In person voting is not less safe than other activities of daily life, such as grocery

   shopping, eating at a restaurant, getting a haircut, going to a bank or retail store, or working in an office.

   Doc. 48, Ex. 1, Barie Decl. ¶ 19.

           59.     Dr. Meredith believed some voters will be unwilling to vote in person based on national

   survey data from months ago and a few anecdotes from out-of-state, but Dr. Meredith admits these are

   subjective decisions and a survey respondent’s “perceptions of COVID-19 risk do not always align with

   reality.” Doc. 47, Ex. 2, Meredith Decl., ¶¶ 22-24, 28-29; see also Tr. 54:22–55:16, 95:3–96:20. Dr.

   Meredith does not offer any projection on the number of voters who will be unable to vote in-person

   during the November 2020 election.

           60.     Although it is likely that the pandemic will persist through the November 2020 election,

   it cannot be known what the state of the COVID-19 pandemic in Oklahoma will be at that time. Doc.

   48, Ex. 1, Barie Decl. ¶ 10 n.17; Doc. 47, Ex. 1, Troisi Decl. ¶¶ 22-29; Tr. 20:18-19. Though some have

   speculated that the lower humidity levels in cooler months may increase spread of the virus, this has not



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   been established, and the higher humidity levels in the warmer months were not associated with a

   decrease in spread of the virus. Tr. 42:6-18.

            61.     Some countries in the southern hemisphere that have experienced their flu season during

   the COVID-19 pandemic have seen virtually no flu cases because of the precautions people have taken

   against COVID-19 such as wearing masks and social distancing. Tr. 40:16-24. Accordingly, if

   Oklahomans wear masks and keep social distance more than they have during previous years, it is

   possible that voters will be safer from the flu during 2020 than in previous years. Tr. 40:25–41:4. Given

   this, it may be possible that voting in 2020 may be safer than voting during previous November elections.

   Tr. 41:5–42:5.

                    B.     Risks of Voting Absentee during COVID-19

            62.     Absentee voting in Oklahoma is safe and presents low risk for contracting COVID-19.

   Doc. 48, Ex. 1, Barie Decl. ¶¶ 20, 22.

            63.     The experts agree that notarization, witnessing, and photocopying can all occur in

   compliance with social distancing and other proper public health guidance. Doc. 48, Ex. 1, Barie Decl.

   ¶ 20; Tr. 43:2–44:11. Although Dr. Troisi believed that notarization, witnessing, or photocopying can

   create a risk of transmission, this conclusion was based on the assumption that these activities

   “necessitate[] close contact” and touching the same surfaces; she later acknowledged that they can be

   accomplished without close contact, while maintaining appropriate social distancing, and while

   preventing the surface transmission of COVID-19 by washing or sanitizing the surface or the hands

   before touching the eyes, nose, or mouth, and that such practices would make notarization, witnessing,

   or obtaining a copy of ID “pretty safe.” Compare Doc. 47, Ex. 1, Troisi Decl. ¶¶ 2, 30, 32 with Tr. 43:2–

   44:11.




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            64.     Plaintiffs offered the testimony of two voters and both were able to vote absentee in the

   June 2020 primary and to verify their ballot without close contact with another individual. Doc. 47, Ex.

   5, Habrock Decl. ¶ 22 (voted absentee by photocopying ID at her office); Doc. 47, Ex. 7, McAfee Decl.

   ¶ 8 (describing how a friend who was a notary notarized ballot “on her porch”). Such methods of

   verification are consistent with the activities that Plaintiffs are still engaging in during the pandemic, such

   as voter registration events. Doc. 47, Ex. 11, Andrews Depo at 14-17.

            65.     The most at-risk voters, such as those in nursing homes, are also at low risk for

   contracting COVID-19 when voting absentee due to the availability of absentee voting boards or

   designated in-facility employees to assist them. Doc. 48, Ex. 1, Barie Decl. ¶ 21.

            IV.     VOTING PATTERNS IN OKLAHOMA ELECTIONS DURING COVID-19                                   AND
                    EVIDENCE REGARDING ALLEGED BURDENS OF CHALLENGED LAWS

            66.     Plaintiffs cannot quantify the number of voters who Plaintiffs argue will be unable to

   cast a ballot due to the Ballot Verification Laws. The Ballot Verification Laws do not impose significant

   burdens on voters and COVID-19 has not caused higher burdens to comply with the Ballot Verification

   Laws. This is shown by numerous pieces of evidence.

            67.     First, voter participation during Oklahoma’s June 2020 primary was significantly higher

   than during Oklahoma’s June 2016 and June 2012 primaries. Doc. 48, Ex. 2, Ziriax Decl. ¶ 34.

            68.     Second, in Oklahoma’s June 2020 primary, the percentage of absentee ballots rejected for

   failure to comply with the notarization or witness requirement was lower than the percentage of absentee

   ballots rejected for the same reasons in recent general elections. Doc. 47, Ex. 2, Meredith Decl. at 25,

   tbl 2.

            69.     Third, in the June 2020 primary, less than 1000 votes, or about 0.14% of votes cast, were

   absentee ballots that were rejected for failure to satisfy the notary, witness, or ID photocopy

   requirements. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 34-35. This is fewer than the number of votes rejected for


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   failure to comply with the affidavit requirement that Plaintiffs do not challenge and seek to retain. Doc.

   48, Ex. 2, Ziriax Decl., Att. 4 (showing 1,050 ballots rejected for four reasons relating to affidavit

   requirement compliance). Thus, the burdens imposed by the Ballot Verifications Laws that Plaintiffs

   challenge have been shown to be lower than the burden imposed by the verification measures that

   Plaintiffs seek to retain. Moreover, even for those voters whose ballots were rejected for failure to

   comply with the Ballot Verification Laws, Plaintiffs are unable to identify whether any of these voters

   were actually unable to comply with the laws or simply failed to do so out of inadvertence, lack of

   reasonable efforts, or attempts to cast a fraudulent ballot. It is possible that fewer voters in the

   November election will make the same mistakes in failing to properly verify their ballots than they did

   during the June 2020 primary. Tr. 110:23–111:13.

           70.     Fourth, the rejection rate of absentee ballots in Oklahoma is not meaningfully different

   from states across the country, including those states that do not have notarization, witness, or copy of

   ID requirements. Tr. 101:19-23. Indeed, recent elections in other states that do not have such

   requirements have shown much higher rejection rates. Id. at 108:18–110:6.

           71.     Fifth, Oklahoma has lowered any burdens on voters from the Ballot Verification Laws

   during the COVID-19 pandemic. As Dr. Meredith states, during the pandemic, “[m]ore potential voters

   should be able to claim that they are physically incapacitated,” such that, if they choose, they may comply

   with the witness requirement instead of the notarization requirement. Doc. 47, Ex. 2, Meredith Decl.

   ¶ 34; see also supra FOF ¶ 32. Oklahomans have increasingly used the option to designate themselves as

   physically incapacitated for purposes of absentee voting during the COVID-19 pandemic. Between

   March 2020 and June 2020, the number of people that designated themselves as physically incapacitated

   more than doubled. Doc. 47, Ex. 2, Meredith Decl. ¶ 46; Tr. 114:1-6. Although the percentage of

   absentee voters who chose to designate themselves as incapacitated decreased, there is no evidence in



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   the record indicating why any voters did or did not designate themselves as physically incapacitated. Cf.

   Tr. 114:24–115:3. Dr. Meredith speculates that this is because voters are not informed of the notarization

   or witness requirements on one specific document—the absentee ballot application—but admits they

   have numerous other sources to obtain that information. Tr. 111:22–112:18.

           72.     Sixth, the attrition rate (number of absentee ballots requested but not returned to

   election officials) was lower in the June 2020 primary than it was in the June 2012 or June 2016 primary.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 36 & Att. 4. In other words, the percentage of people who successfully

   returned their absentee ballot after requesting one has increased in 2020. The attrition rate was higher in

   the June 2020 primary than in the recent 2016 general election in Oklahoma but about the same as the

   2018 general election. Doc. 47, Ex. 2, Meredith Decl. ¶ 59. Nevertheless, the Court finds that comparing

   the recent June 2020 Primary to previous presidential election year Primaries is more appropriate than

   comparing the June 2020 Primary to previous General Elections. Although Dr. Meredith notes that

   Oklahoma has a higher attrition rate than other states, he admits that some of those states also have a

   notarization requirement (like Missouri) and that the lower attrition rate in other states could be caused

   by a number of other factors like whether the state requires an excuse to request an absentee ballot or

   whether voters are informed of the notary requirement before requesting a ballot. Tr. 64:16-25, 99:6–

   101:18. So at most Plaintiffs’ evidence shows that Oklahoma can reduce its attrition rate by better

   informing voters about the notary requirement, rather than eliminating the notary requirement

   altogether.

           73.     Seventh, although Dr. Meredith speculates that voters who do not live with another

   registered voter will be unable to comply with the witness requirement, he admits that thousands of such

   voters were in fact able to vote during the June 2020 primary, including elderly voters. Doc. 47, Ex. 2,




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   Meredith Decl. ¶ 50; Tr. 116:22-25. And Dr. Meredith admits that most elderly voters do in fact live

   with another registered voter and so easily can satisfy the witness requirement. Tr. 115:15-24.

           74.     COVID-19 and recent controversies surrounding USPS have not created increased

   burdens on voters to comply with the Ballot Receipt Deadline. Plaintiffs note that a greater percentage

   of ballots were rejected as late in the June 2020 primary as compared to the 2016, 2014, and 2012 general

   elections, but a lower percentage was rejected in June 2020 as compared to the most recent general

   election (2018). Doc. 47, Ex. 2, Meredith Decl. 39, tbl. 5; Tr. 78:18-25. Thus, the results here are at best

   mixed and do not justify the conclusion that COVID-19 or recent occurrences at USPS have created

   greater burdens on voters to comply with the Ballot Receipt Deadline.

           75.     Plaintiffs are unable to show how many voters are unable to comply with the Ballot

   Receipt Deadline. At most, Plaintiffs point to how many voters in fact did not comply with the Deadline,

   but cannot give the reasons for doing so, whether it was because they were unable to comply or instead

   because they did not take reasonable efforts to comply or chose to wait too long to request or return

   their absentee ballot.

           76.     Plaintiffs point to alleged conflicts between the deadline to request an absentee ballot,

   USPS delivery time policies, and the Ballot Receipt Deadline, but the option to request a ballot up to

   seven days before the election does not impose a burden on voters—it gives them options in addition

   to requesting a ballot much earlier. If timely requested, voters can be sent their ballot 45 days before the

   election, or even earlier. See supra FOF ¶ 7. There is no evidence that a voter who requests a ballot 45

   days before an election will be unable to return their ballot by the Ballot Receipt Deadline, or will face

   any barriers to doing so.




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           77.     Oklahoma election officials do not manage the U.S. Postal Service (USPS). Oklahoma

   sends all ballots by First Class mail, not marketing mail. Doc. 47, Ex. 4, Ziriax Depo. at 18. Ballot sent

   by voters are treated as First Class mail. Tr. 155:3-5.

           78.     Oklahoma election officials have taken steps to facilitate USPS’s processing of ballots.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 39. In coordination with the USPS Office of Inspector General, Oklahoma

   changed the color of the outer return envelope to green to allow USPS workers to more easily identify

   election mail among other mail. Doc. 48, Ex. 2, Ziriax Decl. ¶ 39. The new envelope still had the other

   markings required by USPS. See Doc. 48, Ex. 2, Ziriax Decl., Att. 7. There is no evidence that problems

   experienced by other states with USPS during 2020 elections were experienced in Oklahoma during the

   June 2020 primary. See Doc. 47, Ex. 2, Meredith Decl. ¶ 71.

           79.     The USPS Office of Inspector General has identified a list of states that do not have

   sufficiently early deadlines for voters to request absentee ballots in time to have them reliably returned

   by election day. Doc. 47, Ex. 2, Stroman Decl. at 6. But the USPS Office of Inspector General only

   expressed concern about states that had “Deadlines Less Than Seven Days Before Election Day.” Id.

   Although the USPS Office of Inspector General criticized Oklahoma’s deadline based on its finding that

   Oklahoma allowed ballot requests six days before election, the USPS Office of Inspector General erred

   in its listing of Oklahoma’s deadline because Oklahoma’s deadline is seven days before election day, not

   six days. Compare id. at 6 with id. at ¶¶ 7, 12; see also Tr. 154:15-21. The USPS Office of Inspector General

   expressed no concern about states with deadlines of seven days. See Doc. 47, Ex. 2, Stroman Decl. at 6.

           80.     The USPS’s recent statement that voters need to submit their absentee ballot requests

   15 days before Election Day at a minimum is not a new message from USPS driven by recent changes.

   Tr. 147:19-23, Tr. 152:17-24. USPS has long used the messaging that voters need to submit their




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   absentee ballot requests 15 days before Election Day at a minimum. Id. This message has been used for

   years, preceding COVID-19 and preceding any recent policy changes. Id.

           81.     The volume of mail has declined about 25% between March 2019 and March 2020. Doc.

   47, Ex. 2, Stroman Decl. ¶ 17. As a result, USPS in Oklahoma has excess capacity to handle mail due to

   the decline in mail volume. Tr. 164:21-166:3. There is no evidence in the record about what changes to

   USPS policy or infrastructure have been in Oklahoma, or what effect such changes have had to USPS’s

   capacity in Oklahoma. Id. There is no evidence in the record about how many absentee ballots the USPS

   could handle in Oklahoma. Tr. 166:4-11. There is no evidence in the record about how many USPS

   employees, if any, are unavailable in Oklahoma due to COVID. Tr. 166:18-21.

           82.     Data from Oklahoma demonstrates the falsehood of Plaintiffs’ expert testimony that

   “[i]t is nearly impossible for an Oklahoma voter who lawfully requests an absentee ballot within one

   week of the November election to receive the ballot in the mail, complete it, and have that ballot

   delivered by a mail carrier to a county board by Election Day.” Doc. 47, Ex. 2, Stroman Decl. ¶ 12. The

   majority of voters who were sent an absentee ballot on the last possible day to request such a ballot for

   the June primary (June 23) successfully returned their ballot to election officials by June 30. Doc. 47, Ex.

   2, Meredith Decl. at 51, fig. 2; id. ¶ 82. Of those voters that were sent an absentee ballot on the last

   possible day to request such a ballot for the June primary (June 23) and who chose to return their ballot,

   only 5.6% had their ballot arrive after election day (June 30). Id. at ¶ 82. In other words, of those voters

   who were sent their ballots on the request deadline and choose to return their ballot by mail, over 94%

   of them successfully returned their ballot by the Ballot Receipt Deadline. In general, about 65% of voters

   who requested a ballot within two weeks of the June 2020 primary election day and returned their ballot

   to their county election board had their ballots sent and received (round trip) within seven days—and

   sometimes less than three days. Doc. 47, Ex. 2, Meredith Decl. at 51, fig. 2; Tr. 122:18–124:14.



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           83.      As the request deadline approaches, county election boards work hard to send out an

   absentee ballot the same day it is requested. Doc. 47, Ex. 4, Ziriax Depo. 32:12-16. Although in theory

   USPS may take up to two weeks to deliver and return an absentee ballot, the data discussed above and

   the testimony in this case does not show that is the typical experience in Oklahoma. Id. at 33-36.

           84.      Plaintiffs offer no evidence for the number of voters that will be unable to vote in

   Oklahoma because the state does not provide free postage for returning absentee ballots. Nor do

   Plaintiffs offer any data to estimate such a number. Plaintiffs’ expert only points to three studies on voter

   turnout when free postage is provided: one showed increased turnout but Plaintiffs’ expert admits its

   methodological flaws because it did not include a control group; one study in the United States that did

   include a control group did not show any increased turnout; and one study from Switzerland showed a

   4% increase in turnout. Doc. 47, Ex. 2, Meredith Decl. ¶¶ 86-87.

           85.      USPS—not the State of Oklahoma—determines whether postage is required for

   absentee ballots and the cost of that postage. Doc. 48, Ex. 2, Ziriax Decl. ¶ 33. Mandating that the state

   or county election boards pay for such postage would disrupt election board budgets and direct resources

   away from other election activities. Id.

           86.      The USPS has a policy of delivering election mail even if it has insufficient postage. Tr.

   167:16-25; Doc. 47, Ex. 4, Ziriax Depo. 150:11-19.

           87.      The USPS’s recent problems with postmarking ballots in New York occurred due to the

   combination of a postmark requirement and the use of prepaid envelopes (known as “business reply

   envelopes”). Tr. 168:15–169:16. The USPS has a policy of not postmarking business reply envelopes

   unless they are election mail. Id.

           88.      Plaintiffs offer no evidence on the number of voters who will be unable to vote because

   of the Ballot Harvesting Laws.



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            89.    Plaintiffs’ desire to engage in ballot harvesting may actually increase the spread of

   COVID-19 because it involves requiring interactions between harvesters and voters and because

   Plaintiffs and others intend on engaging in harvesting through hosting or attending gatherings of people.

   See Doc. 47, Ex. 5, Habrock Decl. ¶ 8 (desiring ballot collection to occur at “a rotary meeting or a

   community center”); Doc. 47, Ex. 11, Andrews Depo. 55-58 (describing ideas to host “vote from home

   parties” and events that would take place in “churches and assisted living facilities and elder daycare

   centers and places where the elderly gather”).

            90.    Plaintiffs have offered no evidence of any particular voter, or member of their

   organization, that was unable to vote during the June 2020 primary because of the challenged laws. Doc.

   47, Ex. 11, Andrews Depo. 21, 33, 68-72. Nor have Plaintiffs offered any evidence of any particular

   voter or member of their organization that will be unable to vote during the November 2020 general

   election because of the challenged laws. Id. Plaintiff Oklahoma Democratic Party is unaware of any such

   individual voters. Id. The only voters that Plaintiffs offered for testimony in this suit—who did not testify

   they were members of Plaintiff organizations—were able to successfully vote absentee during the June

   2020 primary. Doc. 47, Ex. 5, Habrock Decl. ¶¶ 21-22; Doc. 47, Ex. 7, McAfee Decl. ¶ 8.

            V.     STATE INTERESTS IN PREVENTING AND DETECTING VOTER FRAUD

            91.    Absentee ballots are the largest source of potential fraud. Doc. 48, Ex. 5, Strach Decl.

   ¶¶ 43-47; see also Commission on Federal Election Reform, Building Confidence in U.S. Elections at 47 (Sept.

   2005) (“Absentee ballots remain the largest source of potential voter fraud.”). 2

            92.    The Ballot Verification Laws and the Ballot Harvesting Laws are important to help

   prevent and detect fraud and its extent, which has a long history in both the United States in general and

   in Oklahoma specifically. Doc. 48, Ex. 2, Ziriax Decl. ¶ 20; Doc. 48, Ex. 5, Strach Decl. ¶ 28. The Ballot


   2
       https://www.legislationline.org/download/id/1472/file/3b50795b2d0374cbef5c29766256.pdf

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   Verification Laws also help promote voter confidence in the integrity and outcomes of elections. Doc.

   48, Ex. 2, Ziriax Decl. ¶ 20.

             93.   Notary or witness signatures help protect the most vulnerable voters by ensuring a

   known neutral observer prevented them from being coerced. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 26-27; Doc.

   48, Ex. 5, Strach Decl. ¶¶ 36, 48-55. The Ballot Verification Laws, including the copy of ID alternative,

   also make it harder to commit voter fraud. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 26-28.

             94.   The notarization and witness requirements make it easier to detect fraud and to

   determine the extent of fraud once detected because notaries or witnesses can work with election

   officials investigating fraud, and the presence of a notary or witness signature on one fraudulent ballot

   can lead to the discovery of other fraudulent ballots. Witness requirements have thus been “critical” to

   past absentee ballot fraud investigations and without such verification measures it would have been

   “impossible” to discover the extent of the fraud. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 26-27; Doc. 48, Ex. 5,

   Strach Decl. ¶¶ 28-30, 35. Plaintiffs do not present any evidence contesting this; rather, Plaintiffs’ expert

   concedes that the witness requirement in North Carolina “was helpful in the prosecution of that case”

   of voter fraud. Tr. 88:18-20.

             95.   Conversely, removing these Ballot Verification Laws and allowing an absentee ballot to

   be cast with only a signed affidavit, with no measure to verify that signature, would make it easier to

   commit voter fraud and harder to detect when voter fraud is committed. Doc. 48, Ex. 2, Ziriax Decl. ¶¶

   26, 28.

             96.   Defendants have documented over a hundred cases of absentee fraud throughout the

   nation, including Oklahoma. See Doc. 48, Exs. 6-7, Cleveland Decl. Exs. 1-124; Doc. 48, Ex. 5, Strach

   Decl. ¶¶ 8-30; Doc. 48, Ex. 2, Ziriax Decl., ¶¶ 21-23. This covers only cases of discovered fraud, not the

   fraud that goes undetected, especially in states without as robust measures as Oklahoma’s.



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           97.     Historical examples in Oklahoma include the 1983 absentee voter fraud scandal that led

   to the indictment of the state Speaker of the House and the House Floor Leader. Doc. 48, Ex. 2, Ziriax

   Decl. ¶ 22; see also Doc. 47, Ex. 4, Ziriax Depo. 103-05 (discussing more examples). More recent

   examples include the conviction of Darryl Cates in 2012 for forging signatures on absentee ballots that

   he notarized. Doc. 48, Ex. 2, Ziriax Decl. ¶ 22. And in 2018, Ronald Henry was convicted of forging

   signatures on absentee ballots of family members. Id. Nonetheless, with Oklahoma having robust

   measures to prevent absentee ballot fraud—like the Ballot Verification Laws—such fraud remains

   uncommon in Oklahoma. Id.; Doc. 47, Ex. 4, Ziriax Depo. 108.

           98.     Other cases of absentee ballot fraud show that witness signatures are useful for

   discovering fraud as well as exploring its extent. See Doc. 48, Ex. 6, Cleveland Decl., Exs. 18-19. In

   Minnesota in 2017, Michelle Marie Landsteiner pled guilty to a charge stemming from her role in forging

   a mail-in ballot mailed to a former resident of her household. See id. A detective suspected the forgery

   because the signature on the forged ballot was similar to the witness’s signature. See id.

           99.     If ballot verification requirements are not in place, signature matching alone does not

   adequately deter fraud. For example, in Colorado, there have been multiple convictions for signature

   forging in just the last few years. See Doc. 48, Exs. 6-7, Cleveland Decl. Exs. 16, 17, 36. Similarly, in New

   Mexico, political activists have forged signatures on ballots to help a candidate win by just 2 votes. See

   id. Exs. 1-3.

           100.    Some cases show that ballot harvesting is often used by politicians to influence how

   voters will vote. See Doc. 48, Exs. 6-7, Cleveland Decl., Ex. 100. In 2011, former Muncie City

   Councilman Monte Murphy was convicted on charges relating to his actions in the 2007 Muncie

   Municipal Election. See id. Murphy provided a couple with absentee ballots applications, took their




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   completed applications, illegally assisted the couple in filling out their ballots (telling them how to vote

   straight Democratic), left with the sealed ballots, and then mailed them. See id.

           101.     Ballot harvesting can be also be used to commit fraud with sealed ballots. See Doc. 48,

   Exs. 6-7, Cleveland Decl., Ex. 93. In California in 2012, Cudahy city official Angel Perales pled guilty to

   charges stemming from fraudulent activities in the 2007 and 2009 city elections. See id. He learned how

   to open ballot envelopes without defacing them, discarded ballots favoring challengers, and retained

   ballots in favor of the incumbents. See id.

           102.     The recent Ballot Harvesting Laws in Oklahoma clarifying the activities prohibited as

   illegal ballot harvesting were in part a reaction to absentee voter fraud and ballot harvesting that led to

   the overturning of a U.S. Congressional election in North Carolina. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 23-

   24; Doc. 47, Ex. 4, Doc. 47, Ex. 4, Ziriax Depo. 121-22.

           103.     In North Carolina in 2016, election officials learned about a ballot harvesting scheme

   that stole ballots or played on the sympathies of voters to turn over their ballots to political operatives,

   fraudulently voting the ballots, and fraudulently witnessing them. Doc. 48, Ex. 5, Strach Decl. ¶¶ 11-12.

   These harvesters were getting paid by the ballot and the extent of their fraud was only discovered because

   investigators were able to discover other ballots they had witnessed. Id.

           104.     In North Carolina in 2018, a similar scheme was discovered—and the extent of its fraud

   determined through the witness requirement—that led to the overturning of an entire U.S.

   Congressional election. Doc. 48, Ex. 5, Strach Decl. ¶¶ 14-27. Part of this scheme including paying

   workers to collect absentee ballot applications so that they can return to harvest the ballots when

   delivered. Id. at ¶ 22.

           105.     Just this year, illegal ballot harvesting was discovered in an election in Patterson, N.J.,

   that led to indictments, Doc. 48, Ex. 5, Strach Decl. ¶ 38, and the overturning of the mayoral election



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   there, Tr. 128:8-12; see also https://www.cnn.com/2020/08/20/politics/paterson-new-jersey-city-

   council-voter-fraud/index.html.

            106.      These schemes are also not new. See Doc. 48, Ex. 7, Cleveland Decl. Ex. 121. In 2010

   in Georgia, a city council candidate filled out both absentee ballot applications and absentee ballots in a

   race he won by 27 votes. See id. After the fraud was uncovered, he pled guilty to the fraud and vacated

   his city council seat. See id.

            107.      Thus, this fraud is also not inconsequential: it sometimes leads to the results of the

   election being overturned. See Doc. 48, Exs. 6-7, Cleveland Decl. Exs. 112-124; Doc. 48, Ex. 5, Strach

   Decl. ¶¶ 18, 27.

            108.      Ballot harvesting also risks voter fraud because it adds additional unknown people into

   the chain of custody. Doc. 48, Ex. 5, Strach Decl. ¶ 42. Combined with eliminating the Ballot

   Verification Laws, allowing Ballot Harvesting makes it easier to commit voter fraud on a mass scale by

   coercing or unduly influencing voters, collecting blank ballots and illegitimately filling them out, engaging

   in vote buying, tampering with collected ballots, or failing to deliver or destroying collected ballots

   intentionally or unintentionally. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 30-31; Doc. 48, Ex. 5, Strach Decl. ¶¶

   37-39, 42, 45. If ballot harvesting were legal, voters would be more willing to hand over their ballot to

   third-parties and would have little reason to contact authorities when being solicited, making it even

   harder to prevent and detect fraud. Doc. 48, Ex. 5, Strach Decl. ¶ 42.

            109.      Ballot harvesting is especially likely to lead to voter fraud in rural areas or areas with high

   unemployment because recent economic suffering in those areas has demonstrably led to people

   accepting money in exchange for their ballot or accepting money to go collect others’ ballots. Doc. 48,

   Ex. 5, Strach Decl. ¶¶ 52-55. As the Carter-Baker Commission concluded, it is also especially dangerous

   when candidates or political parties are allowed to handle absentee ballots. Strach Dec. ¶¶ 43-44 (quoting



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   Report of the 2005 Commission on Federal Election Reform, Building Confidence in U.S. Elections,

   September                   2005,                 https://www.legislationline.org/download/id/1472/file/

   3b50795b2d0374cbef5c29766256.pdf (hereinafter “Carter-Baker Commission”)). This is precisely what

   Plaintiffs seek to do: they are political entities and they seek to collect voters’ ballots, targeting the elderly,

   including by paying workers according to the number of ballots collected. Doc. 47, Ex. 11, Andrews

   Depo. 58-59, 63.

           110.     The only experienced voter fraud investigator to testify in this case concluded that the

   notary and witness requirements are “important to the integrity of the election” because they are “an

   invaluable tool in investigating fraud” regardless of the effect they have on deterring fraud. Doc. 48, Ex.

   5, Strach Decl. ¶¶ 56-57.

           111.     The only experienced voter fraud investigator to testify in this case concluded that

   “allowing groups associated with candidates or parties to collect or harvest voter absentee ballots is more

   of an opportunity for bad actors than a solution to assist voters return their absentee ballots.” Doc. 48,

   Ex. 5, Strach Decl. ¶ 58.

           112.     Laws that create chain of custody and limit the number of individuals that have access

   to the voter’s ballot are necessary safeguards to protect the voter’s ballot and compromising those

   safeguards compromises the security of the voter’s ballot. Doc. 48, Ex. 5, Strach Decl. ¶ 59.

           113.     During COVID-19, protection against absentee voter fraud is more important than in

   the typical election because the increased absentee turnout will cause an increased focus on absentee

   ballots by campaigns and by bad actors alike. Doc. 48, Ex. 5, Strach Decl. ¶ 63.

           VI.      ROLE OF DEFENDANTS IN ENFORCING LAWS AT ISSUE

           114.     The term “State Election Board” can refer to either the five-member Board or to the

   agency managed by the Secretary. Doc. 48, Ex. 2, Ziriax Decl. ¶ 3.



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           115.    The Secretary is not a member of the five-member Board. Doc. 47, Ex. 4, Ziriax Depo.

   at 11:1-9.

           116.    All of the laws at issue in this case are the responsibility of the Secretary and not the

   Board Member Defendants. 3 Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 2-3; Doc. 48, Ex. 3, Buchanan Decl. ¶¶ 4-

   6.

           117.    The Secretary has supervisory authority over the state agency’s staff and over county

   election boards. Doc. 48, Ex. 2, Ziriax Decl. ¶ 2.

           118.    The Board Member Defendants do not have supervisory authority over the Secretary or

   the county election boards. Doc. 48, Ex. 3, Buchanan Decl. ¶¶ 5-7.

           119.    The Board Member Defendants have no involvement in the process of ballot

   generation, ballot testing, ballot printing, or delivery of ballots to county election boards. Doc. 48, Ex.

   3, Buchanan Decl. ¶ 5.

           120.    The Secretary exercises his enforcement authority through rules promulgated under the

   Oklahoma Administrative Procedures Act and through procedure documents provided to the county

   election board secretaries. Doc. 47, Ex. 4, Ziriax Depo. at 14:12-17:11.

           121.    The Secretary and the agency staff he supervises provide election supplies to the

   counties. Doc. 47, Ex. 4, Ziriax Depo. at 13:14-14:3.

           122.    All meetings of the five-member Board occur in Oklahoma City, OK. Doc. 48, Ex. 3,

   Buchanan Decl. ¶ 8.




   3
    The “Board Member Defendants” are Tom Montgomery, Dr. Tim Mauldin, Heather Mahieu Cline,
   Jerry Buchanan, and Debi Thompson.

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           123.    All agency rules relevant to this case were promulgated by the Secretary (or predecessors

   in that office) from the office of the State Election Board in Oklahoma City. Doc. 48, Ex. 2, Ziriax Decl.

   ¶ 4.

           124.    All Defendants officially reside in Oklahoma City. See OKLA. STAT. tit. 26, § 2-108

   (official residence is “the seat of government”); id. tit. 73, § 1 (seat of government is “Oklahoma City”).

           125.    Defendant Ziriax personally resides in Edmond, OK. See State Election Board Secretary and

   Members, OKLA. STATE ELECTION BOARD, https://www.ok.gov/elections/About_Us/

   Secretary_and_Board/index.html (listing his city of personal residence as Edmond).

           126.    Defendant Buchanan is the only Defendant with a personal residence in the Northern

   District of Oklahoma See State Election Board Secretary and Members, OKLA. STATE ELECTION

   BOARD, https://www.ok.gov/elections/About_Us/Secretary_and_Board/index.html (listing his city

   of personal residence as Tulsa).

           127.    The Secretary has never issued a rule or order in any location in the Northern District

   of Oklahoma. Doc. 48, Ex. 2, Ziriax Decl. ¶ 4.

           128.    County secretaries, and not Secretary Ziriax, train inspectors, judges, clerks, and other

   precinct officials in each county. O.A.C. § 230:10-5-12.

           VII.    ELECTION DAY IN NOVEMBER 2020 AND POTENTIAL FOR DISRUPTION

           129.    As of August 19, 2020, over 166,700 absentee ballots had been requested for the

   November election. Doc. 48, Ex. 2, Ziriax Decl. ¶ 11.

           130.    The Secretary and his staff began preparing the design and printing of November

   absentee ballot packets in early July 2020. Doc. 48, Ex. 2, Ziriax Decl. ¶ 39. The absentee materials were

   sent to the printer on July 27, 2020. Id. As of August 19, 2020, the printer had not yet completed the




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   print job for absentee ballot packet materials for the November election. Id. This print job started on

   July 27, 2020 is expected to be finished by August 31, 2020. Id.

           131.    Once printed items are delivered, counties must manually assemble the election packets,

   affix labels, and insert the appropriate absentee ballots into corresponding packets. Doc. 48, Ex. 2, Ziriax

   Decl. ¶ 40; Doc. 47, Ex. 4, Ziriax Depo. 99-100. The absentee ballot packets include, in addition to the

   ballot itself, the ballot secrecy envelope, the affidavit envelope, the return envelope, the mailing envelope,

   the absentee ballot instructions, absentee ballot warnings, and the COVID-19 supplemental instructions.

   Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 39-40 & Att. 5–12. It can take over a month for officials in the four

   largest counties in Oklahoma (Oklahoma, Tulsa, Cleveland, and Canadian Counties) to prepare absentee

   packets for timely mailing of ballots. Doc. 48, Ex. 2, Ziriax Decl. ¶ 40.

           132.    Changing the challenged laws at this point of the election cycle (late August 2020, with

   absentee voting starting in mid-September) would create chaos and confusion among voters. Doc. 48,

   Ex. 2, Ziriax Decl. ¶ 29. It would require a massive public education project that is not within the time

   and budget of state and county election boards and it would possibly necessitate having to reprint

   absentee ballot materials and redo absentee ballot packets. Id. Hundreds of thousands of new affidavit

   envelopes and/or instructions would have to be reprinted if the court grants the relief sought by

   Plaintiffs. Doc. 48, Ex. 2, Ziriax Decl. ¶ 41.

           133.    If any of the challenged laws are enjoined or altered, so as not to confuse voters,

   hundreds of thousands of materials included as part of the absentee ballot packet may have to be

   reprinted, which could take weeks. Doc. 48, Ex. 2, Ziriax Decl. ¶ 41. Specifically, six changes might need

   to be made, depending on the specifics of any court order: (1) The standard affidavit envelope has a

   place for a notary signature and a black box WARNING that says the voter’s signature must be verified.

   Doc. 48, Ex. 2, Ziriax Decl., Att. 5. (2) The same is true for the incapacitated affidavit envelope, which



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   contains a place for witness signatures. Id. at Att. 6. (3) For both of these envelopes, although they

   contain a place for an affidavit, Plaintiffs ask for a requirement that this be signed “under penalty of

   perjury” (Doc. 18 at 42, ¶ C; see also OKLA. STAT. tit. 12, § 426), but the current affidavit envelopes do

   not state that signature is under penalty of perjury. Doc. 48, Ex. 2, Ziriax Decl. Att. 5-6. (4) The return

   envelope says “First-Class Postage required,” which may have to be revised if Plaintiffs prevail. Id. at

   Att. 7. (5) The instruction materials with the packet inform voters they need to obtain notarization or

   witnessing, or comply with the special COVID-19 alternative of including a photocopy of ID. Att. 8, 9,

   & 12. They also tell voters that the ballot must be received by 7 P.M. on election day and that a postmark

   will not suffice, that voters must return their own ballots, and that they must affix first-class postage. Id.

   (6) The warning pamphlets warn about illegal activities, including warnings against ballot harvesting. Id.

   at Att. 10.

            134.     Counties would also have to re-prepare hundreds of thousands of absentee packets

   before they could send absentee ballots to voters. Doc. 48, Ex. 2, Ziriax Decl. ¶¶ 40-41. All of this would

   have to be done amidst other county election board duties, including processing voter registration,

   sending free voter ID cards, processing absentee ballot requests, processing returned absentee ballots,

   and conducting precinct official trainings. Id. ¶ 40. In addition, if the Court were to require Oklahoma

   to provide free postage, the return envelopes would either have to be reprinted with prepaid postage or

   county election officials would have to manually affix postage to each envelope, either of which could

   take weeks. Id. ¶ 41. Any ruling affecting laws for the November 2020 election issued at this late date

   will set state and county election officials back weeks and delay or impede absentee voters from receiving

   their ballots. Id. ¶ 41.




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           135.    In the opinion of Secretary Ziriax, which has not been contradicted by any evidence,

   “we are past the point of no return to make changes to election law of this magnitude in order to

   implement them in an orderly fashion for the General Election.” Doc. 48, Ex. 2, Ziriax Decl., ¶ 41.

           136.    Changing the Ballot Receipt Deadline also has the potential for electoral disruption.

   Doc. 48, Ex. 2, Ziriax Decl. ¶ 32. County election boards must certify election results by the Friday after

   the Tuesday Election Day (including accurately counting all ballots and resolving challenges to results),

   OKLA. STAT. tit. 26, § 7-136, and the State Election Board must certify the statewide results of the

   election the Tuesday after Election Day, id. These deadlines could not be met under the Plaintiffs’

   requested relief of allowing absentee ballots to continue to be received up to a week after Election Day.

   Doc. 18 at 42, ¶ G. Plaintiffs therefore also request the Court to order these certification deadlines be

   postponed by a week, id. at 43 ¶ H, but this would mean that the State certification and issuance of

   certificates of election would occur a mere 24 hours before the new members of the State House of

   Representatives are seated, OKLA. STAT. tit. 14, § 137 (providing that terms for the member of the House

   expire fifteen days after the November General Election). See Doc. 48, Ex. 2, Ziriax Decl. ¶ 32. Thus,

   delay of election results could seriously upset the operation of the legislative branch of state government.

           137.    Delaying the results of the election could also undermine public confidence in the

   election, as it has in other jurisdictions where the recent elections had remained disputed for weeks. Doc.

   48, Ex. 2, Ziriax Decl. ¶ 37. This is because the longer results are outstanding, the lower the chances that

   candidates and voters are likely to accept the results of the election. Id.

                                            CONCLUSIONS OF LAW

           I.      STANDARD FOR INJUNCTIVE RELIEF

           138.    “For a party to obtain a permanent injunction, it must prove: (1) actual success on the

   merits; (2) irreparable harm unless the injunction is issued; (3) the threatened injury outweighs the harm



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   that the injunction may cause the opposing party; and (4) the injunction, if issued, will not adversely

   affect the public interest.” Sw. Stainless, LP v. Sappington, 582 F.3d 1176, 1191 (10th Cir. 2009).

           139.    Where a movant seeks injunctive relief (1) “that alter[s] the status quo,” (2) that includes

   a “mandatory preliminary injunction[],” or (3) “that afford[s] the movant all the relief that it could

   recover at the conclusion of a full trial on the merits,” it seeks a disfavored injunction and must satisfy a

   heightened standard. Fish v. Kobach, 840 F.3d 710, 723 (10th Cir. 2016) (quoting Awad v. Ziriax, 670 F.3d

   1111, 1125 (10th Cir. 2012)). Here, Plaintiff seeks all three types of disfavored injunctions: they seek to

   change the status quo by altering or enjoining election laws already in effect; they seek a mandatory

   injunctions by forcing Defendants to pay for postage and to count ballots that do not comply with the

   Ballot Verification Laws and the Election Day Receipt Deadline, instead using new procedures and

   deadlines fashioned by the Court; and they seek preliminary relief that is the same as permanent relief:

   changing the election laws in advance of the November 2020 election. Accordingly, Plaintiffs must

   satisfy a heightened standard.

           II.     ACTUAL SUCCESS ON THE MERITS

                   A.       Standing

           140.    Plaintiffs lack standing for any of the claims in this case.

                            1.      Associational Standing on Behalf of Members

           141.    There are no individual Plaintiffs in this case. See generally Doc. 18, Am. Compl.

           142.    To claim standing based on their members, the organization Plaintiffs must at the

   threshold show that their “members would otherwise have standing to sue in their own right.” Hunt v.

   Washington State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).

           143.    To show such standing of their members, Plaintiffs must demonstrate that their

   members suffer an “injury in fact” that is “concrete and particularized” and “actual or imminent.” Lujan



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   v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). In other words, the injury must be “certainly impending.”

   Id. at 564 n.2 (emphasis in original). Showing particularized injury “requires an associational plaintiff to

   specifically identify at least one member harmed by the defendant’s conduct.” Osage Producers Ass’n v.

   Jewell, 191 F. Supp. 3d 1243, 1250 (N.D. Okla. 2016) (emphasis added) (citing Summers v. Earth Island

   Inst., 555 U.S. 488, 498-99 (2009)).

           144.    In the context of challenging laws that allegedly burden the right to vote, Plaintiffs must

   demonstrate that their members will certainly be prevented from voting. See Texas Democratic Party v.

   Abbott, 961 F.3d 389, 403-04 (5th Cir. 2020) (quoting McDonald v. Board of Election Commissioners of Chicago,

   394 U.S. 802, 807-08 & n.7 (1969)). Assertions that unidentified members could be confused or might

   not comply with voting regulations are “[a]llegations of possible future injury” that fail to demonstrate

   standing. Whitmore v. Arkansas, 495 U.S. 149, 158 (1990) (emphasis added).

           145.    Plaintiff DCCC has only one apparent member in Oklahoma: Congresswoman Kendra

   Horn. https://dccc.org/frontline/ (one incumbent member in Oklahoma); https://redtoblue.dccc.org/

   (no challenger members in Oklahoma). Plaintiff DCCC has failed to offer any evidence that

   Congresswoman Horn, its sole Oklahoma member, is harmed by any of the challenged laws.

           146.    Plaintiff Oklahoma Democratic Party (“ODP”) claims all registered Democrats in

   Oklahoma as members. Doc. 47, Ex. 11, Andrews Depo at 6:20-7:3.

           147.    Plaintiff ODP has failed to identify any particular members that are unable to vote

   because of the challenged laws. See supra FOF ¶¶ 66, 75, 84, 88, 90.

           148.    In Clark v. Edwards, the Middle District of Louisiana carefully examined the standing of

   plaintiffs to challenge, inter alia, Louisiana’s absentee ballot witness requirement. 20CV283, 2020 WL

   3415376, *6-11 (M.D. La. June 22, 2020). Plaintiffs there put forward an individual voter allegedly

   harmed by the witness requirement because she was at high-risk for COVID-19, but the court concluded



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   she lacked standing: the voter was able to interact with others during the pandemic for other reasons

   and “[p]resumably, the same ‘best practices’ that Chandler employed during her limited outings could

   be used to ensure her safety during the brief interaction necessary to obtain a witness signature on her

   ballot.” Id. at *6. It quoted the Western District of Wisconsin for “various ways in which a witness

   signature could be obtained while maintaining social distancing: ... a friend or neighbor may watch the

   voter mark their ballot through a window, open door or other physical barrier, and even may do so by

   video chat, like Skype or Facetime, with the voter then placing the ballot outside for the witness to sign

   and mail ... [or] the voter could ask an individual delivering groceries or food to witness the ballot.” Id.

   In fact, the voter had already “arranged to have her groceries and other necessities dropped off” and

   “can get a witness signature on her absentee ballot without violating those guidelines by taking the same

   precautions she takes when leaving her home for doctor’s appointments and other ‘limited purposes.’”

   Id. The court also concluded that an injury to this plaintiff would require a speculative chain of events:

            First, she would have to choose a method of obtaining a signature that involved in-
            person contact, which, as described above, is not necessary. Second, if in-person contact
            did occur, she would have to take no precautions in the form of maintaining social
            distance, using personal protective equipment, hand sanitizer, and so on. Chandler
            admits that she “has maintained social distancing best practices while out,” and has not
            asserted that she would be unable to do so while obtaining a witness signature. Third,
            the person that Chandler selected to witness her ballot would actually have to be carrying
            the Virus. The risk is not zero, but it is highly speculative. Ultimately, Chandler would
            have to comply with the Witness Requirement to vote by mail whether the Virus existed
            or not. Thus, the gravamen of her asserted injury is fear of exposure to the Virus. Such
            fear is simply not enough to give rise to a “certainly impending” injury.

   Id. at *7.

            149.    The court in Clark v. Edwards conducted a similar analysis for all the plaintiffs and found

   none to have standing. Id. at *7-11. Here, by contrast Plaintiffs have failed to produce even a single

   particular voter who has alleged injury and the inability to vote due to the challenged laws, so neither




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   Defendants nor the Court can evaluate whether there is any actual injury to any of Plaintiffs’ members

   in this case.

           150.     Because Plaintiffs cannot show that any particular member with certainty will be unable

   to vote due to any of the challenged laws, Plaintiffs lack associational standing to sue on behalf of their

   members.

                            2.      Direct Standing

           151.     Plaintiffs also cannot show direct standing for the challenged laws. Plaintiffs claim they

   have standing because they have allegedly diverted resources as a result of the challenged laws, but this

   fails for multiple reasons.

           152.     First, Plaintiffs fail to prove such diversion of resources with any specificity or evidence

   beyond bare allegations. Standing must be proven “at every stage of the proceeding,” Citizens Concerned

   for Separation of Church & State v. City & Cty. of Denver, 628 F.2d 1289, 1301 (10th Cir. 1980), and here,

   where a preliminary injunction request has been merged with a final trial on the merits, standing must

   be proven with specific evidence, not mere allegations that would suffice at the pleading stage. Plaintiffs

   do not provide any evidence of actual costs, in either dollars or employee time, that is a result of resources

   spent because of the challenged laws or diverted away from other activities.

           153.     Second, even if Plaintiffs could show diversion of resources, Plaintiffs “cannot

   manufacture standing by choosing to make expenditures based on hypothetical future harm.” Clapper v.

   Amnesty Int'l USA, 568 U.S. 398, 402 (2013). If Plaintiffs’ members lack injury to their voting rights,

   Plaintiffs cannot spend their way to standing by budgeting to address hypothetical voting right harms.

   See id. Because Plaintiffs’ members lack an injury-in-fact to their voting rights from the ballot harvesting

   laws, see supra COL ¶¶ 141-150, Plaintiffs cannot claim direct standing through diversion of resources.




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           154.    Third, Plaintiffs fail to show injury because if Plaintiffs already spend their funds on voter

   outreach, changing what the Plaintiffs say to voters is not a diversion since they would have spent the

   funds on voter outreach either way. For example, in Clark v. Edwards, the court found a civic organization

   lacked standing to challenge Louisiana’s absentee ballot laws because the organization already had “a

   strong voting-related mission, including offering rides to the polls and voter support,” so “[t]he fact that

   they anticipate demand for those services does not strike the Court as an injury, nor does the fact that

   they undertook to monitor developments in Louisiana election law; that activity seems consistent with

   their general activities and mission.” 2020 WL 3415376, *11-12. “The Court simply does not see how

   Power Coalition has ‘gone out of its way’ in response to the actions of Defendants. This is especially

   true because the Challenged Provisions were already part of Louisiana law and thus, the organization

   cannot claim to be expending resources to research, understand, and educate the public on new laws.”

   Id. That court also found other organizations similarly lacked standing in that case. Id. at *12-15. And

   other courts have engaged in similar analyses. See Shelby Advocates for Valid Elections v. Hargett, 947 F.3d

   977, 982 (6th Cir. 2020); La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083,

   1088 (9th Cir. 2010); ACORN v. Fowler, 178 F.3d 350, 359 (5th Cir. 1999); Democracy N. Carolina v. N.

   Carolina State Bd. of Elections, No. 1:20CV457, 2020 WL 4484063, at *12-18 (M.D.N.C. Aug. 4, 2020). For

   similar reasons, Plaintiffs lack standing here.

           155.    Fourth, even if Plaintiffs could show injury to their organizations, with the exception of

   their First Amendment Ballot Harvesting Laws, they do not allege that their right to vote is affected;

   rather, they are seeking to advance the right to vote of third parties. Thus, in order to show standing for

   all the other challenges, Plaintiffs must demonstrate they have “a ‘close’ relationship with the person

   who possesses the right” and that “there is a ‘hindrance’ to the possessor’s ability to protect his own

   interests.” Aid for Women v. Foulston, 441 F.3d 1101, 1111-12 (10th Cir. 2006) (quoting Kowalski v. Tesmer,



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   543 U.S. 125, 130 (2004)). Here, Plaintiffs have failed to put forward evidence that satisfies either

   requirement. As two courts have already found in challenges to voting laws during the pandemic,

   allegations of voter education efforts are insufficient to show a “close relationship,” and there is zero

   evidence of any “hindrance” to individual voters bringing suit in this Court. Democracy N. Carolina, 2020

   WL 4484063, at *19-20 (citing Priorities USA v. Nessel, 19-13341, 2020 WL 2615766, at *9 (E.D. Mich.

   May 22, 2020)).

            156.     For all these reasons, Plaintiffs lack standing to bring this suit.

                     B.      Proper Parties

            157.     Only state officials who enforce the law at issue in a complaint are proper parties under

   42 U.S.C. § 1983. See Nat’l Collegiate Athletic Ass’n v. Tarkanian, 488 U.S. 179, 191 (1988).

            158.     If a state official does not enforce the law at issue, he is immune from suit because

   sovereign immunity protects state officials that have no role in enforcement of the relevant law. See Ex

   parte Young, 209 U.S. 123, 157 (1908) (“[I]t is plain that [a state] officer must have some connection with

   the enforcement of the act, or else [the suit] is merely making him a party as a representative of the state,

   and thereby attempting to make the state a party.”).

            159.     A complaint that does not involve adverse actions by named Defendants fails to state a

   plausible claim against those Defendants. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Robbins v. Oklahoma,

   519 F.3d 1242, 1249 (10th Cir. 2008); Fed. R. Civ. P. 12(b)(6).

            160.     A court lacks subject matter jurisdiction over Defendants who are not responsible for

   the actions alleged in the active complaint. See Smith v. United States, 561 F.3d 1090, 1097-99 (10th Cir.

   2009).

            161.     Named Defendants who did not perform any of the actions at issue in a complaint are

   misjoined to the complaint. Fed. R. Civ. P. 21.



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           162.       Plaintiffs’ claims entirely address absentee ballots: (1) the requirements for absentee

   ballots, (2) the process of returning absentee ballots, (3) the time for returning absentee ballots, and

   (4) the rules regarding ballot harvesting and absentee ballots.

           163.       The undisputed evidence in this case shows that the Board Member Defendants are not

   responsible for any of the absentee ballot laws in this case.

           164.       The Secretary in his official capacity (whether Defendant Paul Ziriax or a predecessor in

   the office) promulgated the rules at issue in this case. Doc. 47, Ex. 4, Ziriax Depo. at 14:12-15:3; see 36

   Ok. Reg. 1545 (latest version of Okla. Admin. Code. § 230:30-11-1.1 promulgated under Secretary’s

   authority); 34 Ok. Reg. 1122 (latest version of Okla. Admin. Code. § 230:30-11-5 promulgated under

   Secretary’s authority); 28 Ok. Reg. 1154 (latest version of Okla. Admin. Code. § 230:30-9-6 promulgated

   under Secretary’s authority). He also enforces the notarization requirement for absentee ballots. See 20

   Ok. Reg. 1097 (latest version of Okla. Admin. Code. § 230:30-23-1 promulgated under Secretary’s

   authority).

           165.       The Secretary is not under the supervision of the Board Members because he is

   appointed by the Legislature. See OKLA. STAT. tit. 26, § 2-101.6; Okla. Senate Rule 2-2.

           166.       The Secretary manages the agency staff, including their maintenance of the agency

   website and databases. See supra FOF ¶¶ 116-119.

           167.       The Secretary also controls how election results are transmitted from counties to the

   Board Member Defendants. See 33 Ok Reg 1417 (citing OKLA. STAT. tit. 26, § 7-136 (“as prescribed by

   the Secretary”).

           168.       Plaintiffs have failed to state any claim against the Board Member Defendants, whether

   that such Defendants would certify a zero vote election in the absence of county election returns or

   would otherwise act regarding these roles committed to the Secretary.



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           169.     Because the Board Member Defendants have no connection to the laws at issue beyond

   being State officials broadly affiliated with elections, they are improperly sued in this Ex Parte Young

   action and are immune from suit.

           170.     Because the Board Member Defendants have no connection to the laws at issue beyond

   being State officials broadly affiliated with elections, this court lacks subject matter jurisdiction over

   them.

           171.     Because the Board Member Defendants have no connection to the laws at issue beyond

   being State officials broadly affiliated with elections, they are misjoined to this lawsuit.

           172.     Secretary Ziriax is capable of granting all of the relief requested by Plaintiffs.

                    C.      Venue

           173.     Plaintiffs have asserted venue under 28 U.S.C. § 1391(b)(1), which states that venue lies

   in “a judicial district in which any defendant resides, if all defendants are residents of the State in which

   the district is located.” Doc. 18, Am. Compl. ¶ 11.

           174.     The statute further defines residency as “the judicial district in which that person is

   domiciled.” 28 U.S.C. § 1391(c)(1) (emphasis added).

           175.     Congress added this definition of residence to the venue statute in 2011. Federal Courts

   Jurisdiction and Venue Clarification Act of 2011, P.L. 112-63, 125 Stat 758, 764 (Dec. 7, 2011).

           176.     Because the statute specifies the judicial district, it does not allow for venue in both the

   official and personal residence. See 28 U.S.C. § 1391(c)(1).

           177.     The capacity in which the official is sued determines the residence for purposes of venue.

   CHARLES A. WRIGHT & ARTHUR R. MILLER, ET AL., 14D FED. PRAC. & PROC. § 3805.

           178.     Plaintiffs are suing Defendants in their official capacity. See generally Doc. 18, Am. Compl.




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           179.     Thus, residence venue does not exist in the Northern District of Oklahoma because

   Defendants’ official residence in Oklahoma City.

           180.     Plaintiffs have also asserted venue under 28 U.S.C. § 1391(b)(2), which states that venue

   lies in “a judicial district in which a substantial part of the events or omissions giving rise to the claim

   occurred.” Doc. 18, Am. Compl. ¶ 11.

           181.     This test is not the same as the minimum contacts test used in personal jurisdiction

   inquiries. See, e.g., Gulf Ins. Co. v. Glasbrenner, 417 F.3d 353, 357 (2d Cir. 2005) (“It would be error, for

   instance, to treat the venue statute’s ‘substantial part’ test as mirroring the minimum contacts test

   employed in personal jurisdiction inquiries.”).

           182.     This provision focuses on the events or omissions of the Defendant—the complained-of

   actions that caused the alleged harm—not where the effects of those events or omissions happen to be

   felt. See Goff v. Hackett Stone Co., 185 F.3d 874, 1999 WL 397409, at *1 (10th Cir. 1999); see also Daniel v.

   Am. Bd. of Emergency Med., 428 F.3d 408, 432 (2d Cir. 2005); Jenkins Brick Co. v. Bremer, 321 F.3d 1366,

   1371-72 (11th Cir. 2003); Woodke v. Dahm, 70 F.3d 983, 985 (8th Cir. 1995); Ne. Landscape & Masonry

   Assocs., Inc. v. State of Connecticut Dep’t of Labor, No. 14CV9104, 2015 WL 8492755, at *4 (S.D.N.Y. Dec.

   10, 2015) ([T]he Second Circuit has made clear that the venue analysis must focus on where the defendant’s

   acts or omissions occurred.”).

           183.     Venue is a personal privilege of Defendants, not Plaintiffs, because it allows Defendants

   to alter Plaintiffs’ choice of forum. See Wachovia Bank v. Schmidt, 546 U.S. 303, 316 (2006); Leroy v. Great

   W. United Corp., 443 U.S. 173, 183-84 (1979); WRIGHT & MILLER § 3801 (“Venue laws give added

   protection to defendants . . . .” (emphasis added)).

           184.     The venue statute, 28 U.S.C. § 1391, is not a pure convenience balancing test like 28

   U.S.C. § 1404(a), but is instead a statutory definition that protects defendants regardless of whether the



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   two forums at issue are two hours apart or twenty minutes. See Transp. Funding, LLC v. HVH Transp.,

   Inc., No. 2:17CV2106, 2017 WL 4223126, at *4 & n.58 (D. Kan. Sept. 22, 2017) (Kansas City, KS is

   improper venue for case concerning Kansas City, MO).

           185.    Venue is a waivable privilege of Defendants, and cases where venue was not contested

   are unpersuasive in determining the relevant venue rules.

           186.    “Once an issue as to venue has been raised, the plaintiff bears the burden to show that

   venue is proper.” ConocoPhillips Co. v. Jump Oil Co., Inc., 948 F.Supp.2d 1272, 1277 (N.D. Okla. 2013).

           187.    State officials are not subject to venue outside the state capitol unless their relevant

   actions occurred outside the state capitol. Compare Fla. Hometown Democracy, Inc. v. Browning,

   No. 08CV80636, 2008 WL 3540607, at *3 (S.D. Fla. Aug. 12, 2008), with Bay Cty. Democratic Party v. Land,

   340 F. Supp. 2d 802, 808 (E.D. Mich. 2004).

           188.    Plaintiffs have introduced no evidence that Defendants’ relevant acts or omissions

   occurred outside the state capitol or occurred in the Northern District of Oklahoma.

           189.    Because the undisputed testimony from Secretary Ziriax and Board Member Buchanan

   shows that the relevant acts or omissions occurred in Oklahoma City, Plaintiffs have failed to meet their

   burden and venue is improper in this District.

                   D.      In-Person Voting

           190.    In Count I, Plaintiffs challenge the laws at issue in this suit on the grounds that they

   unlawfully burden the right to vote under the First and Fourteenth Amendments.

           191.    The Constitution empowers states to prescribe “the Times, Places and Manner of

   holding Elections.” U.S. CONST. art. I, section 4. Accordingly, states have “broad powers to determine

   the conditions under which the right of suffrage may be exercised.” Shelby Cnty. v. Holder, 570 U.S. 529,

   543 (2013). States can engage in “substantial regulation of elections.” Burdick v. Takashi, 504 U.S. 428,



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   432 (1992). States have “significant flexibility in implementing their own voting systems.” John Doe No.

   1 v. Reed, 561 U.S. 186, 195 (2010).

           192.     Challenges to voting laws under the First and Fourteenth Amendment are evaluated

   under the Anderson-Burdick framework:

           A court considering a challenge to a state election law must weigh “the character and
           magnitude of the asserted injury to the rights protected by the First and Fourteenth
           Amendments that the plaintiff seeks to vindicate” against “the precise interests put
           forward by the State as justifications for the burden imposed by its rule,” taking into
           consideration “the extent to which those interests make it necessary to burden the
           plaintiff’s rights.”

   Fish v. Schwab, 957 F.3d 1105, 1122 (10th Cir. 2020) (quoting Burdick, 504 U.S. at 434); see also Anderson v.

   Celebrezze, 420 U.S. 780 (1983).

           193.     Every election law “is going to exclude, either de jure or de facto, some people from

   voting.” Griffin v. Roupas, 385 F.3d 1128, 1130 (7th Cir. 2004).

           194.     The severity of the burden on the right to vote determines the level of scrutiny of the

   state’s interests. See Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 190 (2008) (plurality op. of Stevens,

   J.); Am. Civil Liberties Union of New Mexico v. Santillanes, 546 F.3d 1313, 1321 (10th Cir. 2008).

           195.     “[W]hen a state election law provision imposes only ‘reasonable, nondiscriminatory

   restrictions’ upon the First and Fourteenth Amendment rights of voters, ‘the State’s important regulatory

   interests are generally sufficient to justify’ the restrictions.” Burdick, 504 U.S. at 434; see also Crawford, 553

   U.S. at 190.

           196.     A regulation is reasonable if it does not impose a substantial burden beyond “the usual

   burdens of voting.” Crawford, 553 U.S. at 198.

           197.     The laws at issue in this case are nondiscriminatory. Every voter must verify their ballot,

   every voter must follow the deadline, every voter must determine how to send their absentee ballot

   (including by paying for postage), and every voter is free from ballot harvesting by political entities.


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   Crawford, 553 U.S. at 203 (referring to a voter ID law as “neutral, nondiscriminatory”); Washington State

   Grange v. Washington State Republican Party, 552 U.S. 442, 452 (2008) (referring to nondiscriminatory laws

   as “politically neutral regulations”).

             198.   Under the Anderson-Burdick balancing test, the character and magnitude of the injury to

   the Plaintiffs must be assessed in light of “the state’s election code as a whole,” Luft v. Evers, 963 F.3d 665,

   671 (7th Cir. 2020), and “consider[] all voting opportunities that the Plaintiffs could have taken advantage

   of,” Mays v. LaRose, 951 F.3d 775, 786 (6th Cir. 2020); see also Burdick, 504 U.S. at 438-39 (burden of

   regulation small in light of alternative options to access electoral rights); Crawford, 553 U.S. at 197-99

   (same).

             199.   Oklahoma’s election laws as a whole provide numerous easy routes for a voter to cast a

   ballot, so even if one form of voting is unavailable a voter has many other options. See supra FOF ¶¶ 1-

   40.

             200.   In order for Plaintiffs to succeed under Anderson-Burdick in their challenge to any of the

   absentee ballot laws, they must first show that in-person voting in Oklahoma is unduly burdensome.

   But Plaintiffs do not challenge any Oklahoma in-person voting laws as unduly burdensome. Accordingly,

   Count I must fail with respect to all of the challenged laws since in-person voting remains an option for

   voters to exercise their right to vote.

             201.    This is also true because there is no constitutional right to an absentee ballot. Mays v.

   LaRose, 951 F.3d 775, 792 (6th Cir. 2020); see also McDonald v. Bd. of Election Comm’rs of Chicago, 394 U.S.

   802, 807 (1969) (the “claimed right to receive absentee ballots” is not “the right to vote”); Crawford, 553

   U.S. at 209 (Scalia, J., concurring in the judgment) (“[T]he casting of absentee or provisional ballots, is

   an indulgence—not a constitutional imperative.”); Texas Democratic Party v. Abbott, 961 F.3d 389, 403-04

   (5th Cir. 2020) (in challenge to absentee voting laws, “the right to vote is not ‘at stake’”); Griffin v. Roupas,



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   385 F.3d 1128, 1130 (7th Cir. 2004) (rejecting “a blanket right of registered voters to vote by absentee

   ballot”); Tully v. Okeson, No. 1:20CV1271, 2020 WL 4926439, at *3-4 (S.D. Ind. Aug. 21, 2020)

   (“Plaintiffs correctly ‘acknowledge that [Indiana] could likely eliminate all absentee voting if it wished’”

   and “[t]hat’s because unless a restriction on absentee voting ‘absolutely prohibit[s]’ someone from

   voting, the right to vote is not at stake.” (quoting McDonald, 394 U.S. at 807)).

           202.    While absentee voting laws may nonetheless be subject to constraints of equal protection

   and procedural due process, Plaintiffs do not bring any equal protection claims and only bring a

   procedural due process claim with respect to the Election Receipt Deadline in Count III. Doc. 18, Am.

   Compl. ¶¶ 157-166.

           203.    In-person voting is still available and safe during COVID-19. See supra FOF ¶¶ 24-28,

   50-61. The weight of the scientific evidence shows that in-person elections in 2020 have not been

   associated with increased cases of COVID-19 (including in Oklahoma), the risk of contracting COVID-

   19 while voting in-person is not high or significant, that risk is not greater than other activities voters

   engage in during daily life in Oklahoma, and voting in-person can be done in a manner that minimizes

   any risk by complying with Oklahoma’s in-person voting protocols. Id.

           204.    Even if COVID-19 did impose an undue burden on in-person voting, Oklahoma is not

   responsible for any additional burdens imposed by COVID-19. See Thompson v. Dewine, 959 F.3d 804,

   810 (6th Cir. 2020) (“First Amendment violations require state action … [s]o we cannot hold private

   citizens’ decisions to stay home for their own safety against the State.”); Texas Democratic Party v. Abbott,

   961 F.3d 389, 405 (5th Cir. 2020) (burdens caused “because of circumstances beyond the state’s control,

   such as the presence of the Virus”); id. at 415-16 (Ho, J., concurring); Mays v. Thurston, No. 4:20CV341,

   2020 WL 1531359, at *2 (E.D. Ark. Mar. 30, 2020); Coalition for Good Governance v. Raffensperger, No.




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   1:20CV1677, 2020 WL 2509092, at *3 n.2. (N.D. Ga. May 14, 2020); Clark, 2020 WL 3415376, at *10-

   11. Accordingly, COVID-19 cannot be a basis to invalidate Oklahoma’s voting laws.

             205.   At most, COVID-19 is now part of the “usual burden on voting” that arises “arising out

   of life’s vagaries,” and thus not a burden that renders a state law unconstitutional. Crawford, 553 U.S. at

   197-98.

             206.   Even if there is a dispute about the state’s decisions regarding safe in-person voting

   during the pandemic, this Court is required to defer to the state’s decisions on how best to address the

   pandemic. As Chief Justice Roberts explains, a State’s decision on how to address the coronavirus is a

   “dynamic and fact-intensive matter subject to reasonable disagreement,” so when state “officials

   ‘undertake[ ] to act in areas fraught with medical and scientific uncertainties,’ their latitude ‘must be

   especially broad,’” and “they should not be subject to second-guessing by an ‘unelected federal judiciary,’

   which lacks the background, competence, and expertise to assess public health and is not accountable

   to the people.” South Bay United Pentecostal Church v. Newsom, No. 19A1044 at 2 (May 29, 2020) (Roberts,

   C.J., concurring) (citing Jacobson v. Massachusetts, 197 U. S. 11, 38 (1905)).

             207.   Thus, the COVID-19 pandemic requires that courts give more weight, not less, to state

   judgments about how best to preserve the right to vote and election integrity during the pandemic. See,

   e.g., Democratic Nat’l Comm. v. Bostelmann, Nos. 20-1538 et al., 2020 WL 3619499, at *2; Williams v. DeSantis,

   No. 1:20CV67, Doc. 12 (N.D. Fla. Mar. 17, 2020); Sinner v. Jaeger, No. 3:20CV76, 2020 WL 3244143, at

   *6 (D.N.D. June 15, 2020); Bethea v. Deal, No. 2:16CV140, 2016 WL 6123241, at *2-3 (S.D. Ga. Oct. 19,

   2016).

             208.   The Supreme Court has repeatedly refused to upset the judgment of state officials on

   how best to address COVID-19. For example, the Supreme Court stayed a district court preliminary

   injunction that, inter alia, halted Alabama’s absentee ballot verification laws, which are stricter than



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   Oklahoma’s because they require voters to both include a photocopy of their ID and have it notarized

   or witnessed. Merrill v. People First of Alabama, No. 19A1063, 2020 WL 3604049, at *1 (July 2, 2020).

           209.     In other cases as well, the Supreme Court and appellate courts have refused to upset the

   judgment of state officials on voting during a pandemic. See Republican Nat’l Comm. v. Common Cause RI,

   No. 20A28, 2020 WL 4680151, at *1 (Aug. 13, 2020) (declining to stay decision of “state election officials

   [to] support the challenged decree”); Little v. Reclaim Idaho, No. 20A18, 2020 WL 4360897 (July 30, 2020)

   (initiative petitions); id. at *1-2 (Roberts, C.J., concurring) (faulting district court for granting “sufficient

   weight to the State’s discretionary judgments about how to prioritize limited state resources across the

   election system as a whole” during the pandemic); Texas Democratic Party v. Abbot, No. 19A1055, 140 S.

   Ct. 2015 (June 26, 2020) (declining to vacate stay imposed by the Fifth Circuit on district court ruling

   that enjoined state absentee ballot laws); Republican Nat’l Committee v. Democratic Nat’l Committee, 140 S. Ct.

   1207, 1207 (April 6, 2020) (per curiam) (staying district court preliminary injunction that required state

   to count absentee ballots postmarked after election day, declining to opine on the “wisdom” of the

   state’s election choices or “whether other reforms or modifications in election procedures in light of

   COVID-19 are appropriate”); see also Barnes v. Ahlman, No. 20A19, 2020 WL 4499350 (Aug. 5, 2020)

   (jails); Calvary Chapel Dayton Valley v. Sisolak, No. 19A1070, 2020 WL 4251360 (July 24, 2020) (religious

   services); Peterson v. Barr, No, 20A6 (July 14, 2020) (execution); Dep’t of Homeland Sec. v. New York, No.

   19A785, 2020 WL 3964236 (April 24, 2020) (immigration).

           210.     Because Plaintiffs’ challenges only relate to absentee voting and the Oklahoma election

   code as a whole provides multiple opportunities to exercise the right to vote (including to vote in-

   person), Plaintiffs claim in Count I must fail with respect to all the challenged laws. In any event,

   Plaintiffs’ claims are only subject to rational basis review.




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                   E.      Ballot Verification

            211.   Assuming the right to vote were at issue, Plaintiffs challenge to the Ballot Verification

   Laws fails. The compelling state interests in the Ballot Verification Laws outweigh the minimum,

   unquantified burdens on voters Plaintiffs allege.

            212.   The Ballot Verification laws impose a minimal burden on voters. See supra FOF ¶¶ 29-

   34, 37, 62-73. Plaintiffs bear the responsibility to quantify the magnitude of the burden with reliable

   evidence, and they have not done so here. Crawford, 553 U.S. at 200; Democratic Party of Hawaii v. Nago,

   833 F.3d 1119, 1124 (9th Cir. 2016); Common Cause/Georgia v. Billups, 554 F.3d 1340, 1354 (11th Cir.

   2009).

            213.   Voters have multiple different ways that they can verify their absentee ballot to vote in

   the November election. See supra FOF ¶¶ 5-23, 29-34.

            214.   The free notary and ID photocopying services, including drive-through services, offered

   throughout the state greatly minimize any burden on voters. See supra FOF ¶¶ 18, 40. Notary services

   are free throughout the state. OKLA. STAT. tit. 26 § 14-108(A). And there are thousands of notaries

   across the state, present in every county. See supra FOF ¶ 18.

            215.   Voters who qualify as physically incapacitated have another option for voting without a

   notary: they can obtain the signature of two witnesses. See supra FOF ¶ 19. Oklahoma has eased the

   burden of voting absentee by expanding the categories of voters who qualify as physically incapacitated.

   See supra FOF ¶ 32. Oklahoma has reduced the risk of voting during COVID-19 by providing extra

   officials to assist the most vulnerable voters—those in nursing homes and veterans’ centers. See supra

   FOF ¶ 34. And most Oklahoma voters, including elderly voters, live with at least one other registered

   voter who can witness their ballot. See supra FOF ¶ 73.




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           216.    Oklahoma has also allowed all voters to use a photocopy of their ID, which can be

   obtained safely at home. See supra FOF ¶¶ 30-31. This can be the free voter ID provided by the state, or

   any other state, federal, or tribal ID that complies with the requirements of state law. Id. This is available

   to all voters during the November 2020 general election. Voters have many months to obtain a

   photocopy, or even a new copy of their free Voter ID, between May and election day in November.

   Obtaining a copy of ID does not necessarily require interaction with any other person, as it can be done

   at home, at an office, or via mail. The Supreme Court has already held that in-person voter ID “imposes

   only a limited burden on voters’ rights,” Crawford, 553 U.S. at 202-03, and absentee ID poses no much

   greater burden—especially when there are two other options for ballot verification (notarization and

   witnessing).

           217.    The Ballot Verification Laws all provide safe options for voting during COVID-19

   because they can be done while maintaining social distancing, mask wearing, and proper sanitation. See

   supra FOF ¶¶ 63-64. As other courts have noted in upholding witnessing requirements during the

   pandemic, it can be done by a friend, neighbor, postal worker, package or food delivery person, and can

   be done outdoors, wearing masks, and well-more than six feet apart. See Thompson, 959 F.3d at 810

   (endorsing “witnessing the signatures from a safe distance”); Democracy N. Carolina, 2020 WL 4484063

   at *27, *33 (witnessing ballots with such precautions not “a serious risk to voters”); Clark, 2020 WL

   3415376, at *6-7; Bostelmann, 2020 WL 3619499, at *2. Voters who truly want to remain shut-in can have

   the witness observe through video chat or through a window, and then sign the ballot when it is passed

   underneath the front door or left outside in the mailbox. See id. Voters in nursing homes can also request

   assistance in filling out and witnessing their ballots by bipartisan absentee voter boards, with no further

   requirements for verification. OKLA. STAT. tit. 26, § 14-115. And the Legislature also created new




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   alternate procedures for those in nursing homes if those boards cannot enter the facility due to COVID-

   19. See supra FOF ¶ 33.

           218.    While voters do need to take some steps to comply with these laws, the “[b]urdens of

   that sort arising from life’s vagaries, however, are neither so serious nor so frequent as to raise any

   question about [] constitutionality” and they “surely do[] not qualify as a substantial burden on the right

   to vote, or even represent a significant increase over the usual burdens of voting.” Crawford, 553 U.S. at

   197-98. They are no greater than the burdens during in-person voting in other years where voters have

   the time and expense of transporting themselves to their polling place in a timely manner, potentially

   waiting in line, and showing ID to cast a ballot. And they are even lighter given the many options for

   verifying an absentee ballot and the option to cast a ballot in-person or early which remains a safe way

   to vote in Oklahoma. See Democracy N. Carolina, 2020 WL 4484063 at *34.

           219.    Plaintiffs point to statistical data about absentee voting in Oklahoma during the

   pandemic, but none of this data shows how many voters are unable to comply with the Ballot

   Verification Laws; at most it only shows how many voters failed to comply with the Ballot Verification

   Laws, perhaps out of inadvertence, lack of reasonable efforts, or attempts to cast a fraudulent ballot. It

   is not enough to show that a voter is unwilling to comply with a challenged law; in order to demonstrate

   a burden on the right to vote, Plaintiffs must show that voters are unable to comply with the law despite

   reasonable efforts. See Crawford, 553 U.S. at 198; Frank v. Walker, 819 F.3d 384, 386-87 (7th Cir. 2016).

           220.    In any event, the data demonstrates that Oklahoma’s laws are not imposing significant

   burdens because, among other things, (1) voter participation increased during the recent primary; (2)

   rejection rates for failure to comply with the Ballot Verification Laws decreased as compared to recent

   general elections; (3) very few votes (about 0.14% of all votes) were rejected for failure to comply with

   the Ballot Verification Laws and this was fewer than those that failed to satisfy the affidavit requirement



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   that Plaintiffs do not challenge as overly burdensome; (4) rejection rates for failure to verify are not

   higher in Oklahoma than in other states and are in fact much lower than some states that require only

   signature matches. See supra FOF ¶¶ 66-73.

           221.    Many courts have recognized that similar ballot verification laws do not impose an

   undue burden, including during the pandemic, and have upheld such laws. See Thompson, 959 F.3d at 810

   (endorsing “witnessing the signatures from a safe distance”); Democracy N. Carolina, 2020 WL 4484063

   at *27, *33 (witnessing ballots with proper precautions not “a serious risk to voters” and not

   unconstitutional to be required); Clark, 2020 WL 3415376, at *6-7; Bostelmann, 2020 WL 3619499, at *2;

   see also Merrill, 2020 WL 3604049, at *1 (staying lower court decision that enjoined Alabama’s verification

   requirement of both a photocopy of ID and either witness signature or notarization).

           222.    Cases where courts have adjusted absentee ballot verification requirements all involve

   deference to state officials who consented to such adjustments during the pandemic. Common Cause Rhode

   Island v. Gorbea, No. 20-1753, 2020 WL 4579367, at *2 (1st Cir. Aug. 7, 2020) (“Rhode Island officials

   charged with the conduct of fair elections apparently view the regulation’s possible benefits as far

   outweighed by its burdens in this unusual circumstance”); League of Women Voters of Virginia v. Virginia

   State Bd. of Elections, No. 6:20CV24, 2020 WL 2158249, at *14 (W.D. Va. May 5, 2020) (accepting parties’

   settlement and consent decree to waive witness requirement); Libertarian Party of Illinois v. Pritzker,

   20CV2112, No. 2020 WL 1951687, at *5 (N.D. Ill. Apr. 23, 2020) (entering parties’ agreed order to relax

   signature requirement to get on ballot). Here, state officials have made the judgment that the Ballot

   Verification Laws, as revised during the COVID-19 pandemic, properly balance voter access and safety

   with election integrity and voter confidence. Accordingly, the Court will not upset that judgment.

           223.    Similarly, in Thomas v. Andino, No. 3:20CV1552, 2020 WL 2617329, at *19-21 (D.S.C.

   May 25, 2020), the court enjoined a witness requirement, but only because the state failed to show any



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   evidence of the existence of voter fraud and conceded that the witness requirement there did not serve

   any state interests. But see Democracy N. Carolina, 2020 WL 4484063, at *25, *36 (distinguishing Andino).

   Here, like in Democracy North Carolina and unlike in Andino, the state has produced copious evidence on

   the existence of voter fraud and has put forward numerous state interests justifying the Ballot

   Verification Laws. See supra FOF ¶¶ 91-113; infra COL ¶¶ 224-231.

           224.    The State has several interests that justify its ballot verification laws.

           225.    First, “[t]here is no question about the legitimacy or importance of the State’s interest in

   counting only the votes of eligible voters.” Crawford, 553 U.S. at 196 (plurality op.). The “propriety” of

   “preventing election fraud” is “perfectly clear.” Id. The State’s prevention of voter fraud promotes the

   right to vote because reducing protections against fraud decreases the value of all legitimate votes: “The

   right of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as

   effectively as by wholly prohibiting the free exercise of the franchise.” Purcell v. Gonzalez, 549 U.S. 1, 4

   (2006) (quoting Reynolds v. Sims, 377 U.S. 533, 555 (1964)). Oklahoma’s laws fulfill this interest because

   obtaining a photocopy of someone else’s ID or finding a notary or multiple witnesses willing to

   participate in forgery are each far more difficult than faking a signature, and therefore help prevent the

   commission of voter fraud.

           226.    Second, the state has an interest beyond preventing fraud in detecting fraud. Reducing the

   requirement for ballot verification to a mere signature requirement “gives no effect to the state’s

   substantial interest in combatting voter fraud.” Democratic Nat’l Cmte v. Bostelmann, Nos. 20-1538 et al.,

   2020 WL 3619499, at *2 (7th Cir. Apr. 3, 2020) (staying district court order that “categorically eliminates

   the witness requirement applicable to absentee ballots”); see also Democracy N. Carolina, 2020 WL 4484063

   at *35-36. Oklahoma’s laws fulfill this interest because the notary or witness who verifies a ballot can be

   questioned, and finding a notary’s or witness’s name on one false affidavit can help in detecting other



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   fraudulent ballots by finding other places that notary or witness signed. See supra FOF ¶¶ 94, 98, 103-

   104.

           227.    Third, the state has an interest in safeguarding voter confidence. “[P]ublic confidence in

   the integrity of the electoral process. . . encourages citizen participation in the democratic process.

   Crawford, 553 U.S. at 197 (plurality op.). Oklahoma’s laws fulfill this interest by increasing voter

   confidence in the outcome of the election. See supra FOF ¶ 92.

           228.    These interests are a “legislative fact” that the state need not prove with evidence. See

   Frank v. Walker, 768 F.3d 744, 750-51 (7th Cir. 2014); Crawford, 553 U.S. at 194-195; see also Utah

   Republican Party v. Cox, 892 F.3d 1066, 1113 (10th Cir. 2018) (Tymkovich, J. concurring in part and

   dissenting in part); Common Cause/Georgia v. Billups, 554 F.3d 1340, 1353 (11th Cir. 2009); ACLU of N.M.

   v. Santillanes, 546 F.3d 1313, 1323 (10th Cir. 2008); Democracy N. Carolina, 2020 WL 4484063 at *36. States

   can prophylactically address fraud even without evidence of that fraud currently occurring. Santillanes,

   546 F.3d at 1323; see also Munro v. Socialist Workers Party, 479 U.S. 189, 195 (1986).

           229.    Plaintiffs note the heightened evidentiary burden used in Fish v. Schwab, 957 F.3d 1105,

   1126 (10th Cir. 2020), cert. pet. pending No. 20-109. But the Tenth Circuit imposed this evidentiary burden

   in that case because of the “substantial” burden on voters proven by evidence in that case—31,089

   voters who would be completely unable to vote—including specific proof from individual plaintiffs

   showing inability to satisfy the challenged requirement despite reasonable efforts. Id. at 1126-32. Here,

   however, there is “limited evidence of a burden on the right to vote” so “the state need not present

   concrete evidence to justify its assertion of legitimate or important generalized interests.” Id. at 1126.

   Plaintiffs have not shown either through the testimony of individual voters or through voter data a

   complete inability of voters to cast a ballot, nor a magnitude of harm anywhere near the evidence in Fish.

   See supra FOF ¶¶ 66-73, 90.



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           230.    Nevertheless, if Defendants were required to prove that absentee voter fraud exists, they

   have met that requirement, showing over a hundred instances of voter fraud across the country,

   including in Oklahoma and including instances that changed the results of elections. See supra FOF ¶¶ 91-

   113. And Defendants have also proven how ballot verification requirements have helped election

   officials detect fraud and detect the extent of fraud. See supra FOF ¶¶ 94, 98, 103-104.

           231.    Plaintiffs note that voter fraud is relatively rare in Oklahoma, but that describes the state

   of affairs with Oklahoma’s Ballot Verification Laws in place—the very laws designed to ensure voter

   fraud remains rare. See supra FOF ¶ 97. Plaintiffs also point to other states that don’t have the same ballot

   verification measures and use other measures, but while “the most effective method of preventing

   election fraud may well be debatable,” it is up to states, not courts, to choose among those methods.

   Crawford, 553 U.S. at 196; see also Ohio Dem. Party v. Husted, 834 F.3d 620, 622 (6th Cir. 2016) (courts

   should not become “entangled, as overseers and micromanagers, in the minutiae of state election

   processes”); Griffin v. Roupas, 385 F.3d 1128, 1131 (7th Cir. 2004) (“[T]he striking of the balance between

   discouraging fraud and other abuses and encouraging turnout is quintessentially a legislative judgment”).

   States have “significant flexibility in implementing their own voting systems.” Reed, 561 U.S. at 195.

   Indeed, there is evidence in the record showing that states that have other verification methods—such

   as signature matching—have experienced higher rates of ballot rejection, thereby imposing higher

   burdens on voters. See supra FOF ¶ 70.

           232.    Plaintiffs also point out that the state allows voters under the Uniformed and Overseas

   Citizens Absentee Voting Act (“UOCAVA”) to self-authenticate their absentee ballot, but this is

   required by federal law and does not undermine the state’s decision to require verification for other

   ballots. See Doc. 47, Ex. 4, Ziriax Depo. 109-110; 52 U.S.C. § 20303(f).




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           233.     The Supreme Court in Crawford upheld an in-person voter ID law based on the well-

   evidenced history of absentee voter fraud. 553 U.S. at 194-96. If in-person voter ID is valid because of

   the history of absentee fraud, then absentee voter ID must be valid based on that same history, especially

   with two more options to verify a ballot (witnessing or notarization).

           234.     The State’s exceedingly strong interests here outweigh the usual burdens of voting

   imposed by the Ballot Verification Laws. Accordingly, Plaintiffs cannot succeed on the merits in their

   challenge to the Ballot Verification Laws.

                    F.        Ballot Harvesting

                              1.    Ballot Harvesting Laws under Anderson-Burdick

           235.     Assuming the right to vote were at issue, Plaintiffs challenge to the Ballot Harvesting

   Laws fails.

           236.     Laws prohibiting third parties from harvesting absentee ballots or absentee ballot

   applications, or “assisting” voters with absentee ballots, necessarily only require an individual voter to

   be subject to the “usual burdens on voting,” Crawford, 553 U.S. at 197-98—that is, voting without

   assistance—and therefore do not amount to more than a minimal burden. The Ballot Harvesting Laws

   do not impose any requirements on any voter to cast a vote; it merely prohibits outside groups from

   harvesting their ballot.

           237.     In any event, Oklahoma also does not completely prohibit assistance, as it allows family

   and even roommates to offer assistance. Oklahoma also provides or allows for assistance to particularly

   vulnerable voters, such as those in nursing homes. And Plaintiffs and others can gift voters free stamps

   to assist with mailing an absentee ballot. See supra FOF ¶¶ 15, 39.




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           238.    Plaintiffs have not identified a single voter who is unable to vote because of the Ballot

   Harvesting Laws, nor do Plaintiffs provide any data or statistical evidence showing the number of such

   voters or the magnitude of any burden imposed by the Ballot Harvesting Laws. See supra FOF ¶¶ 88, 90.

           239.    Rather, Plaintiffs proposed ballot harvesting activities may actually increase the burdens

   on the public because they risk spreading COVID-19. See supra FOF ¶ 89.

           240.    Accordingly, Plaintiffs have not shown that the Ballot Harvesting Laws impose more

   than a minimal burden on the right to vote.

           241.    As other courts have recognized, Oklahoma has an interest in protecting the chain of

   custody between the voter and election officials in order to reduce opportunities for fraud. See

   Qualkinbush v. Skubisz, 826 N.E.2d 1181, 1204 (Ill. App. 2004).

           242.    Oklahoma has an interest in protecting the voters like the elderly who are most

   vulnerable to undue influence, intimidation, or coercion by political groups from being contacted by

   political groups like Plaintiffs, who intend on targeting elderly voters. See Qualkinbush v. Skubisz, 826

   N.E.2d 1181, 1187-88, 1190-91, 1206 (Ill. App. 2004); see supra FOF ¶¶ 89, 109.

           243.    This state interest in preventing ballot harvesting is not just theoretical, but has been

   recognized by courts around the country. See Pabey v. Pastrick, 816 N.E.2d 1138, 1144-47, 1154 (Ind.

   2004) (ordering a special election due to ballot harvesting fraud); Qualkinbush, 826 N.E.2d at 1195-96 (in

   addition to Illinois, pointing to cases in New Jersey and California); Matter of Protest Election Returns &

   Absentee Ballots in November 4, 1997 Election for City of Miami, Fla., 707 So. 2d 1170 (Fla. Dist. Ct. App.

   1998) (declaring new winner of election for Miami mayor after “massive fraud in the absentee ballots,”

   including the use of “so-called ‘ballot brokers’”).

           244.    The problem of coercion is inherent in mail-in voting, but it’s only made worse by ballot

   harvesting schemes. Qualkinbush, 826 N.E.2d at 1197; Carter-Baker Commission at 47 (“Absentee



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   balloting is vulnerable to abuse in several ways,” including that “[c]itizens who vote at home, at nursing

   homes, as the workplace, or in church are more susceptible to pressure, overt and subtle, or to

   intimidation.”); see supra FOF ¶¶ 93, 109.

               245.   Defendants have also documented evidence of fraud happening from ballot harvesting,

   and the risks posed by ballot harvesting in coercing or unduly influencing voters, collecting blank ballots

   and illegitimately filling them out, engaging in vote buying, tampering with collected ballots, or failing to

   deliver or destroying collected ballots intentionally or unintentionally. See supra FOF ¶¶ 97, 100-113.

               246.   While political entities like Plaintiffs may suffer injury because they cannot pressure

   voters into casting votes for their party’s candidates, that injury is not an injury to the voter or the voter’s

   rights. See Crawford, 553 U.S. at 195-96 & n.13 (plurality op.); Qualkinbush, 826 N.E.2d at 1190-91

   (describing how “easily someone of influence could manipulate the[] votes” when assisting with absentee

   ballots).

               247.   Plaintiffs proposed activities pose the highest risks of ballot harvesting: political groups

   (like Plaintiffs) who pay persons based on the number of ballots they collect to collect an unlimited

   number of ballots targeting the elderly, which may be most susceptible to undue influence or coercion.

   See supra FOF ¶¶ 93, 109.

               248.   Limiting ballot harvesting to “sealed and voted” ballots would completely undermine

   the prohibition because the damage to the chain of custody would still hinder the State’s ability to

   prevent and detect fraud. See supra FOF ¶¶ 108, 112. If harvesters are allowed to solicit people for their

   ballots, it becomes more difficult for the State to ensure Plaintiffs or any other harvesting group will not

   tamper with, destroy, or fail to return the ballots, intentionally or unintentionally. Ballot harvesting also

   creates the risk of harvesters attempting to influence a vote in exchange for their assistance. Broad

   prohibitions on ballot harvesting will mean that voters will know never to give their ballot to an outside



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   group (preventing fraud from occurring) and will mean that voters can inform about or the state can

   investigate any group that is engaging in such activities (allowing the detection of fraud). See Qualkinbush,

   826 N.E.2d at 1199.

           249.    The same is true of harvesting absentee ballot applications: it prevents groups from

   turning in the application without the voters’ knowledge, stealing the ballot from the unsuspecting

   voters’ mailbox, and casting a fraudulent vote; or manipulating voters into requesting an absentee ballot

   and, once received, turning control over to the harvester, Cf. Qualkinbush, 826 N.E.2d at 1187-88, 1190-

   91, see also supra FOF ¶ 104; or simply taking possession of the application but (intentionally or

   unintentionally) never turning it in, leaving the voter waiting for an absentee ballot that never arrives.

           250.    Courts across the country have recognized the state’s strong interest in fighting fraud

   and in protecting vulnerable voters from coercion justify prohibiting ballot harvesting. See Qualkinbush,

   826 N.E. 2d at 1193, 1199; see also id. at 1195-96 (citing other courts upholding harvesting bans for similar

   reasons); In re Canvass of Absentee Ballots of November 4, 2003 Gen. Election, 843 A.2d 1223, 1232-35 (Pa.

   2004); Marks v. Stinson, 19 F.3d 873, 877 (3d Cir. 1994) (describing massive fraudulent ballot harvesting

   in election where control of Pennsylvania Senate was at stake); New Georgia Project v. Raffensperger, No.

   1:20CV1986, Order, Doc. 134 at 49-52 (N.D. Ga. Aug. 31, 2020) (denying injunctive relief under

   Anderson-Burdick challenge to ballot harvesting ban).

           251.    Plaintiffs point to the Ninth Circuit’s decision in Democratic Nat’l Comm. v. Hobbs, 948

   F.3d 989, 1037 (9th Cir. 2020), but that decision did not evaluate a ballot harvesting ban under Anderson-

   Burdick, and instead evaluated its disparate impacts on minority communities under the Voting Rights

   Act. Moreover, the Ninth Circuit has stayed its decision pending review by the Supreme Court. Stay

   Order, DNC v. Hobbs, No. 18-15845 (9th Cir. Feb. 11, 2020); see also Nos. 19-1257 & 19-1258 (U.S.).




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              252.   No authority supports analyzing the penalty for violating an election law separate from

   the law itself. There is no right to a preferred penalty for violating valid laws. Accordingly, the criminal

   penalty for ballot harvesting has the same validity as the law prohibiting ballot harvesting.

              253.   The state interests in the Ballot Harvesting Laws outweighs any burden imposed on

   voters, so Plaintiffs cannot succeed on the merits to their Anderson-Burdick challenge to these laws.

                            2.       Ballot Harvesting and the First Amendment (Count IV)

              254.   Voters’ First Amendment interests are not analyzed separately under this count because

   all alleged burdens on First and Fourteenth Amendment rights are analyzed together under Anderson-

   Burdick. See Burdick, 504 U.S. at 434; Acevedo v. Cook Cty. Officers Electoral Bd., 925 F.3d 944, 948 (7th Cir.

   2019); Dudum v. Arntz, 640 F.3d 1098, 1106 n.15 (9th Cir. 2011); Democracy N. Carolina, 2020 WL 4484063

   at *50-51. As the party invoking the First Amendment, they have the burden to prove it applies. Clark

   v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293 n.5 (1984). Plaintiffs have not shown any case where

   a court has analyzed a First Amendment challenge to ballot harvesting laws separate from Anderson-

   Burdick.

              255.   In any event, Plaintiffs have none of their own First Amendment interests at issue

   because their activity of collecting “sealed and voted ballots,” Doc. 18, Am. Compl. ¶ 175, is conduct, not

   speech.

              256.   Not all conduct is expressive because not all conduct related to speech becomes

   expressive conduct. See Cmty. For Creative Non-Violence, 468 U.S. at 297-98; Rumsfeld v. Forum for Acad. &

   Institutional Rights, Inc., 547 U.S. 47, 66 (2006); United States v. O’Brien, 391 U.S. 367, 376 (1968). To

   determine whether the conduct at issue is protected under the First Amendment, courts examine (1)

   whether the conduct shows an “intent to convey a particularized message,” and (2) whether “the




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   likelihood was great that the message would be understood by those who viewed it.” Texas v. Johnson,

   491 U.S. 397, 404 (1989).

           257.      Plaintiffs are not trying to convey any message with discernable content that anyone

   would understand by the act of collecting and returning other people’s votes of unknown content. See

   Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018) (collecting absentee ballots is not speech); Democracy

   N. Carolina, 2020 WL 4484063 at *51-52 (“delivering absentee ballot requests is not expressive

   conduct”); New Georgia Project v. Raffensperger, No. 1:20CV1986, Order, Doc. 134 at 52-54 (N.D. Ga. Aug.

   31, 2020) (denying injunctive relief in First Amendment challenge to ballot harvesting ban because

   collecting ballots is not expressive conduct); see also Miller v. Thurston, 967 F.3d 727, 738-39 (8th Cir. 2020)

   (notarizing and returning petition signatures is not speech); Voting for America v. Steen, 732 F.3d 382, 393

   (5th Cir. 2013) (collecting voter registrations is not speech); League of Women Voters v. Browning, 575 F.

   Supp. 2d 1298, 1319 (S.D. Fla. 2008) (same).

           258.      The only way to inject political speech into ballot harvesting is if the parties involved are

   discussing a ballot that can still be voted, allowing the harvester to influence the vote. If Plaintiffs

   intended to inject political speech into ballot harvesting, then Defendants’ protection of voters’ First

   Amendment rights by creating a safeguard that the ballot will be voted based on the intent of the voter,

   not someone else,” Qualkinbush, 826 N.E.2d at 1199, would outweigh Plaintiffs’ interest in altering

   voters’ speech.

           259.      Because Plaintiffs do not state that they want to engage in any conduct beyond the

   ministerial act of collecting sealed and voted ballots, they have failed to demonstrate any First

   Amendment injury. Plaintiffs First Amendment challenge in Count IV to the Ballot Harvesting Laws is

   unlikely to succeed.




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           260.      Plaintiffs also belatedly raised procedural due process claims at the evidentiary hearing

   on August 26, 2020, but because they did not challenge the Ballot Harvesting Laws under this theory in

   their Complaint, this argument is waived and cannot succeed on the merits.

                     G.      Ballot Receipt Deadline

           261.      Assuming the right to vote were at issue, Plaintiffs challenge to the Ballot Receipt

   Deadline fails.

           262.      A “generally applicable deadline that applied to all would-be absentee voters would likely

   survive the Anderson-Burdick analysis, even if it resulted in disenfranchisement for certain. . . individuals.”

   Mays v. LaRose, 951 F.3d 775, 792 (6th Cir. 2020). As the Tenth Circuit has observed, any deadline “will

   invariably burden some voters. . . for whom the earlier time is inconvenient,” but these burdens are

   assessed in light of “a state’s legitimate interest in providing order, stability, and legitimacy to the electoral

   process.” Utah Republican Party v. Cox, 892 F.3d 1066, 1077 (10th Cir. 2018).

           263.      Plaintiffs have not shown a significant burden on the right to vote imposed by the Ballot

   Receipt Deadline.

           264.      “The most common state deadline for election officials to receive absentee/mailed

   ballots is on Election Day when the polls close.” 4 Thirty-two states, including every state in this Circuit

   except Kansas, have the same deadline. Id.

           265.      Voters may be mailed a requested ballot forty-five days before Election Day, or even

   earlier, and there is no evidence that voters who take this opportunity will not able to comply with the

   Ballot Receipt Deadline. See supra FOF ¶¶ 7, 72, 75-76, 82-83, 90.




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    Voting Outside the Polling Place: Absentee, All-Mail and other Voting at Home Options, NAT’L CONF. OF
   STATE      LEGIS.,      https://www.ncsl.org/research/elections-and-campaigns/absentee-and-early-
   voting.aspx.

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           266.    Plaintiffs have not proven how many voters are unable to comply with the Ballot Receipt

   Deadline. See supra FOF ¶¶ 75, 82, 90. At most, Plaintiffs point to how many voters in fact did not

   comply with the Deadline, but cannot give the reasons for doing so, whether it was because they were

   unable to or instead because they did not take reasonable efforts to comply or chose to wait too long to

   request or return their absentee ballot. Regulations that can be complied with by reasonable efforts are

   not significant burdens to the right to vote. See supra COL ¶ 219.

           267.    Plaintiffs’ alleged burdens focus on voters who wait until the last moment allowed to

   request or return their absentee ballot, but any votes not counted as a result of this practice is the choice

   of the voter, not a burden imposed by the State. Defendants are not responsible for the failure of voters

   to get their vote in on time because “voters who fail to get their vote in early cannot blame [state] law

   for their inability to vote; they must blame ‘their own failure to take timely steps.’ ” Thomas v. Andino,

   No. 3:20CV1552, 2020 WL 2617329, at *26 (D.S.C. May 25, 2020) (quoting Rosario v. Rockerfeller, 410

   U.S. 752, 758 (1973)). The Supreme Court similarly observed that voters who wait weeks into absentee

   voting and request a ballot at the last minute are suffering the typical burden of a late-requesting voter,

   not a burden imposed by state law. See Republican Nat’l Comm., 140 S. Ct. at 1207. For example, a person

   who waits until ten minutes before the polls close and then gets caught in traffic on the way—through

   no fault of his own—cannot claim to be disenfranchised because he arrived at his polling location well

   after the polls closed. To the extent that Plaintiffs’ argument focuses on the week-long period between

   the last moment to legally request a ballot and the Deadline by which the voted ballot must be received,

   the State could remedy any such burden by requiring voters to request their ballot earlier rather than

   allowing them to return their ballot later.

           268.    Defendants are also not responsible for the problems of the U.S. Postal Service, which

   they do not manage. Cf. Mays v. Thurston, 4:20CV341, 2020 WL 1531359, at *2 (E.D. Ark. Mar. 30, 2020).



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            269.   In any event, the evidence shows that even those voters who request their ballot at the

   statutory request deadline are able to return their ballot by the Ballot Receipt Deadline. See supra FOF

   ¶¶ 72, 74, 82. The recent letter from USPS does not change the analysis because its remarks about

   needing 15 days to return absentee ballots are part of longstanding USPS messaging and not a new

   message caused by any recent changes to USPS. See supra FOF ¶¶ 80. And Oklahoma’s decision to

   provide more time to request a ballot than USPS has long recommended does not render Oklahoma’s

   other election laws unconstitutional.

            270.   The Ballot Receipt Deadline is justified by the State’s interest in orderly elections and

   promoting voter confidence in the election.

            271.   States must have a point at which they stop receiving ballots and start counting them to

   determine the winner. Cox, 892 F.3d at 1077; Friedman v. Snipes, 345 F. Supp. 2d 1356, 1377 (S.D. Fla.

   2004).

            272.   The Deadline also “eliminates the problem of missing, unclear, or even altered

   postmarks, eliminates delay that can have adverse consequences, and eliminates the remote possibility

   that in an extremely close election … a person who did not vote on or before election day can fill out

   and submit a ballot later.” Nielsen v. DeSantis, No. 4:20CV236, Doc. 332 at 3 (N.D. Fla. June 24, 2020).

            273.   The deadline also secures voter confidence in the election: voters become less sure of

   the results if one candidate is a winner on election day, but as more ballots come in, the results are

   changed. Doc. 48, Ex. 2, Ziriax Decl. ¶ 37.

            274.   The deadline also is necessary specifically for the General Election in November because

   the State Legislature’s terms expire the fifteenth day after the November election every two years. See

   supra FOF ¶¶ 136-137.




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           275.    There state interests outweigh the reasonable and nondiscriminatory impact that any

   deadline, including the one at issue, would have on some voters.

           276.    Multiple courts have found the exact same sort of deadline law valid. See Thomas, 2020

   WL 2617329, at *26; Friedman, 345 F. Supp. 2d at 1377.

           277.    Plaintiffs point to a case where a court in Wisconsin modified a ballot receipt deadline,

   but there the “[m]ost persuasive” justification was “the fact that the [Wisconsin Election Commission]

   itself does not oppose extending the deadline.” Bostelmann, 2020 WL 1638374, at *17. This modification

   was also in light of massive problems with timely delivery of absentee ballots to voters, such that “even

   the most diligent voter may be unable to return his or her ballot in time to be counted.” Id. Neither of

   these factors have not occurred in Oklahoma elections and there is no evidence that it will with any

   certainty occur in Oklahoma in November. At the Supreme Court, this extension was not appealed, but

   instead the Court declined to further extend the deadline despite claims that some voters still could not

   return their ballots in time. Republican Nat'l Comm. v. Democratic Nat'l Comm., 140 S. Ct. 1205, 1206-08

   (2020); see also Andino, 2020 WL 2617329, at *27 n.27 (distinguishing Wisconsin case in declining to

   enjoin South Carolina ballot receipt deadline).

           278.    Similarly, a court in Georgia changed a ballot receipt deadline to a postmark deadline,

   but that was based on record evidence of electoral problems in Georgia that caused even those voters

   who requested their ballot “well in advance of the election” to receive their ballot only the day before

   election day, and the recent primary demonstrated voters were disenfranchised “due to Georgia’s poor

   administration of absentee ballots.” New Georgia Project v. Raffensperger, No. 1:20CV1986, Order, Doc. 134

   at 13, 56-63 (N.D. Ga. Aug. 31, 2020). There is no such record evidence in this case: no voter has testified

   that they received their ballot late despite requesting it well in advance of the deadline and Oklahoma’s

   recent June primary shows no evidence of poor administration of absentee ballots.



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            279.    Even if the court found the deadline invalid under Anderson-Burdick, rewriting the

   deadline would exceed the power of the court. See Thompson, 959 F.3d at 812 (federal courts can enjoin

   laws, but they cannot “usurp[ ] a State’s legislative authority by re-writing its statutes’ to create new law”

   (citation omitted)); Democracy N. Carolina, 2020 WL 4484063 at *45 (stating it is not the court’s role to

   rewrite [the State’s] election law.”).

            280.    Plaintiffs’ proposed solution of relying on a postmark would undermine state interests

   because the U.S. Postal Service struggles to properly postmark election mail, especially if prepaid

   envelopes are involved. See supra FOF ¶ 87; Jesse McKinley, Why the Botched N.Y.C. Primary Has Become

   the November Nightmare, N.Y. TIMES (Aug. 3, 2020) (describing thousands of ballots rejected because of

   a lack of a postmark). 5

            281.    The burdens of the Ballot Receipt Deadline do not outweigh the state’s interest in the

   Deadline, and Plaintiff’s challenge in Count I to the Deadline cannot succeed.

            282.    This Court’s conclusion regarding the deadline under Anderson-Burdick controls the

   results under Count I as well as under Count III’s procedural due process allegations because all alleged

   burdens on First and Fourteenth Amendment rights are analyzed together under Anderson-Burdick. See

   Burdick, 504 U.S. at 434; Acevedo v. Cook Cty. Officers Electoral Bd., 925 F.3d 944, 948 (7th Cir. 2019); Dudum

   v. Arntz, 640 F.3d 1098, 1106 n.15 (9th Cir. 2011).

            283.    In any event, there is also no viable procedure due process claim here because there is

   no evidence that if a voter requests early enough, the voter’s ballot will not arrive before election day,

   and because those whose ballots are received after the Deadline are not erroneously deprived of any

   right—they failed to comply with state law.




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       https://www.nytimes.com/2020/08/03/nyregion/nyc-mail-ballots-voting.html.

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           284.    Plaintiffs argue that voters who mail a ballot have “cast” their ballot and have a due

   process right to have it counted, but no case has ever held that the Constitution considers such a ballot

   to have been cast. For example, a person who obtains and fills out a ballot to vote in-person but does

   not submit the ballot at the polling place the same day has not “casted” his ballot, and he has no right

   to later turn in his ballot after Election Day and have it counted. Similarly, an absentee voter who fails

   to take reasonable efforts to ensure his ballot is received by election officials by Election Day cannot

   claim to have “cast” a ballot, or to have had been erroneously deprived of his right to vote. Meanwhile,

   the change in procedure Plaintiffs recommend would negatively impact the state’s election-related

   deadlines. See supra FOF ¶¶ 136-137.

           285.    Plaintiffs’ claim in Count III also cannot succeed.

                   H.      Postage

                           1.      Postage-Related Anderson-Burdick Allegations

           286.    Plaintiffs do not challenge any law regarding postage, but instead challenge the lack of

   an Oklahoma law appropriating funds to pre-pay for postage on absentee ballots.

           287.    The lack of an appropriation is not a cognizable “law” for purposes of Anderson-Burdick

   analysis.

           288.    Even if the right to vote were at issue, Plaintiffs cannot succeed in their demand that

   Oklahoma pay for postage for absentee ballots.

           289.    No Oklahoma law requires that voters pay postage for absentee ballots. Voters can vote

   in-person or turn in their absentee ballot in-person. OKLA. STAT. tit. 26, § 7-104; id. § 14-108. Oklahoma

   law allows third parties to gift postage to voters. OKLA. STAT. tit. 26, § 16-106. The USPS has a policy

   of delivering absentee ballots even without sufficient postage. See supra FOF ¶ 86.




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           290.    The burden of postage is no more than “usual burdens on voting,” Crawford, 553 U.S. at

   197-98, not imposed by Oklahoma. Transporting a ballot to the election office is a typical burden of

   voting just like transporting oneself to the polls.

           291.    Plaintiffs admit that there are many low-cost ways to get postage: use stamps already

   possessed, visit the post office, print stamps at home, or order online. Doc. 18, Am. Compl. ¶¶ 87-91.

           292.    Plaintiffs have failed to show any individual voter will be unable to vote because of lack

   of postage, nor can they quantify how many voters they allege will be unable to vote because of lack of

   postage. See supra FOF ¶¶ 84, 90.

           293.    Even assuming lack of prepaid postage is a burden imposed by the state, courts have

   held it is a valid evenhanded one. See League of Women Voters of Ohio v. Larose, 2020 U.S. Dist. LEXIS

   91631 (S.D. Ohio Apr. 3, 2020); Bruce v. City of Colorado Springs, 971 P.2d 679, 684 (Colo. Ct. of Appeals

   1998); cf. Griffin, 385 F.3d at 1130 (court could not require Internet voting, nor require state to “have to

   buy everyone a laptop, or a Palm Pilot or Blackberry, and Internet access”).

           294.    The State has an inherent and fundamental interest as sovereign in protecting and

   managing the public fisc. Valot v. Se. Local Sch. Dist. Bd. of Educ., 107 F.3d 1220, 1227 (6th Cir. 1997).

           295.    The State’s interest in fiscal responsibility is heightened during a crisis like COVID-19.

           296.    Thus, assuming the lack of an appropriation is a restriction on voting, the State’s

   heightened interests outweigh any burdens on voting. See League of Women Voters of Ohio v. Larose, 2020

   U.S. Dist. LEXIS 91631 (S.D. Ohio Apr. 3, 2020); Bruce v. City of Colorado Springs, 971 P.2d 679 (Colo.

   Ct. of Appeals 1998); cf. Griffin, 385 F.3d at 1130. Plaintiffs cannot succeed in their challenge to

   Oklahoma’s decision not to prepay for postage.




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                             2.      Poll Tax (Count IV)

              297.   Plaintiffs claim that Oklahoma’s failure to prepay for postage on absentee ballots is a

   poll tax in violation of the Twenty Fourth Amendment. This claim cannot succeed on the merits.

              298.   Oklahoma not prepaying postage is not a “poll tax” because a tax must be “deliberately

   imposed by the State.” Veasey v. Perry, 135 S. Ct. 9, 12 (2014) (Ginsburg, J., dissenting); see Hill v. Kemp,

   478 F.3d 1236, 1245 (10th Cir. 2007) (citing Black’s Law Dictionary 1496 (8th ed. 2004)). The State not

   prepaying postage is also not a “tax” because a tax must “yield public revenue.” Hill, 476 F.3d at 1245.

   Here, postage is paid to USPS, not the state.

              299.   Courts have consistently rejected Plaintiffs’ poll tax argument. See Black Voters Matter

   Fund v. Raffensperger, No. 1:20CV1489, 2020 WL 4597053, at *27 (N.D. Ga. Aug. 11, 2020) (dismissing

   postage-stamp poll tax argument); Nielsen v. DeSantis, No. 4:20CV236, Doc. 332 at 2 (N.D. Fla. June 24,

   2020) (“Postage charged by the United States Postal Service—like the fee charged by any other courier

   or the bus fare for getting to the polls to vote in person—is not a tax prohibited by the Twenty-Fourth

   Amendment.”); New Georgia Project v. Raffensperger, No. 1:20CV1986, Order, Doc. 134 at 43-49 (N.D. Ga.

   Aug. 31, 2020) (rejecting argument that failure to prepay postage violated Anderson-Burdick or prohibition

   on poll taxes).

              300.   Even if Oklahoma not prepaying postage were a poll tax, the Tax Injunction Act

   instructs that this court could not enjoin Oklahoma because the state courts have a plain, speedy and

   efficient remedy to address tax issues. 28 U.S.C. § 1341; Hill, 478 F.3d at 1254 (citing OKLA. STAT. tit. 12,

   § 1397).

                     I.      As-Applied Vs. Facial Relief

              301.   Plaintiffs cannot succeed on their claims because they are seeking facial relief, but only

   make arguments as-applied to particular sets of voters.



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           302.     In Crawford, the plurality opinion stated that it saw no basis to “invalidate the entire

   statute” at issue “even assuming an unjustified burden on some voters.” Crawford, 553 U.S. at 203. And

   the concurrence wholly rejected the idea that laws that “are especially burdensome for some voters”

   would justify any relief. See id. at 208 (Scalia, J., concurring in the judgment).

           303.     The “burden some voters face[]” cannot “prevent the state from applying the law

   generally.” Frank v. Walker, 819 F.3d 384, 386-87 (7th Cir. 2016). As a result, “[z]eroing in on the

   abnormal burden experienced by a small group of voters is problematic at best, and prohibited at worst.”

   Ne. Ohio Coal. for the Homeless v. Husted, 837 F.3d 612, 631 (6th Cir. 2016).

           304.     The proper course for voters with particular burdens is to seek as-applied relief for

   themselves. Frank, 819 F.3d at 386.

           305.     Plaintiffs have introduced no evidence that the challenged laws impose undue burdens

   on all voters, or even a vast majority of voters. Indeed, Plaintiffs cannot show any of the laws prevent

   any particular voter from voting, and cannot quantify the number of voters who are unable to vote

   because of the challenged laws. See supra FOF ¶ 90.

           306.     What Plaintiffs seek here—facial invalidation—is what Crawford firmly rejected.

   Plaintiffs advance multiple allegations about how the laws at issue are especially burdensome for some

   voters, but seek complete invalidation of the laws for all voters on that basis. Because Crawford requires

   this Court to reject that request, Plaintiffs cannot succeed in their facial challenge.

           III.     BALANCE OF THE EQUITIES

                    A.      Irreparable Harm to Plaintiffs

           307.     Plaintiffs suffer little but inconvenience from the denial of any injunction, as their

   asserted harms are speculative.




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           308.    Plaintiffs cannot show any particular member or voter cannot exercise one of the many

   opportunities to vote because of the challenged laws, individually or in combination. See supra FOF ¶ 90.

   Harm that is speculative or hypothetical will not suffice; the harm “must be both certain and great,” not

   “merely serious and substantial.” Dominion Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d 1256,

   1262 (10th Cir. 2004).

           309.    Plaintiffs will not be irreparably harmed by the denial of an injunction.

                   B.       Harm to Defendants

           310.    “[B]arring the State from conducting this year’s elections pursuant to a statute enacted

   by the Legislature … would seriously and irreparably harm the State.” Abbott v. Perez, 138 S. Ct. 2305,

   2324 (2018).

           311.    The Supreme Court has instructed all other courts that it must weigh “considerations

   specific to election cases,” including that court orders close to an election “can themselves result in voter

   confusion and consequent incentive to remain away from the polls.” Purcell, 549 U.S. at 5 (2006).

           312.    The Supreme Court “has repeatedly emphasized that lower federal courts should

   ordinarily not alter the election rules on the eve of an election,” Republican Nat'l Comm., 140 S. Ct. at

   1207, to help prevent “serious disruption of [the] political process” right before an election, Williams v.

   Rhodes, 393 U.S. 23, 34-35 (1968).

           313.    Under the Purcell principle, even July is too close to a November election to strike down

   an entire suite of election laws. See Veasey v. Abbott, 830 F.3d 216, 243 (5th Cir. 2016) (en banc); see also

   Husted v. Ohio State Conference of N.A.A.C.P., 573 U.S. 988 (2014) (staying lower court injunction dated

   Sept. 4 that changed election laws 61 days before November election day).

           314.    Here, Oklahoma is about 60 days from the final day of the election, but voting—namely,

   absentee voting—starts in just a few weeks (September 18).



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           315.    Oklahoma has already conducted two elections during the pandemic (the June Primary

   and the Run-Off), so changing election rules at this date will cause electoral confusion. This Court rejects

   Plaintiffs’ invitation to “tamper with election regulations” and impose never-before-used “election

   procedures [that] threaten to take the state into uncharted waters.” Thompson, 959 F.3d at 812.

           316.    It is too late in Oklahoma’s preparation for the November 2020 election to enter any

   injunction without causing disruption and risking voter disenfranchisement. See supra FOF ¶¶ 129-137.

   Changing any of the challenged laws would require printing of new absentee ballot materials, assembly

   of absentee ballot packets, and more burdens on county election boards that could very well delay the

   sending of absentee ballots—giving voters less time to fill out and return them. Id. And it would also

   jeopardize other important election deadlines. Id.

           317.    The Purcell principle commands district courts to deny a preliminary injunction

   regardless of whether Plaintiffs are likely to succeed on the merits of their claim. See Purcell, 549 U.S. at

   5 (vacating an injunction based on timing while “express[ing] no opinion here on the correct disposition”

   of the merits); Short v. Brown, 893 F.3d 671, 680 (9th Cir. 2018); Veasey v. Perry, 769 F.3d 890, 895 (5th

   Cir. 2014).

           318.    The Supreme Court has already rejected the argument that COVID-19 alters the Purcell

   principle. Compare Resp’ts Br. 16, https://www.supremecourt.gov/DocketPDF/19/19A1016/140892/

   20200405143453458_2020-04-04%20Wis.%20April%207%20SCOTUS.pdf,                      with   Republican   Nat’l

   Comm., 140 S. Ct. at 1206-08.

           319.    This Court will not engage in “interference by the judicial department with the electoral

   franchise of the people of this state, which “might well amount to a substantial destruction of that most

   important civil right.” Beebe v. Koontz, 302 P.2d 486, 490 (Nev. 1956).




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           320.     By forgoing the filing of a motion for preliminary injunction when Plaintiffs filed this

   case in May, Plaintiffs failed to seek relief consistent with Purcell.

           321.     The certain harm from an injunction, especially at this late hour in election preparation,

   outweighs Plaintiffs’ hypothetical possibility of harm.

                    C.       The Public Interest

           322.     The public interest also supports denying any injunction here. “[G]iving effect to the will

   of the people by enforcing the laws they and their representatives enact serves the public interest.”

   Thompson, 959 F.3d at 812.

           323.     As expressed in the laws enacted by their representatives, the public wants their votes to

   count while minimizing the possibility of dilution by fraudulent ballots easily facilitated by signature

   fraud or ballot harvesting.

           324.     The public has an interest in a deadline of Election Day so that the results can be tallied

   quickly after the campaign season is over, with less chance for sincere questioning of the results or

   interference by bad actors.

           325.     The public also has not authorized the increased spending of their taxpayer money from

   a court order requiring expenditures of public funds for stamps or requiring printing of new ballot

   materials.

           326.     Accordingly, given the timing and the interests of the state and the public, the equities

   favor denying an injunction and heavily favor denying any injunction that would affect elections this

   November. The public would not be served by the electoral chaos created by an injunction at this late

   date.

           327.     For the foregoing reasons, Plaintiffs request for injunctive relief is DENIED and

   judgment is entered in favor of Defendants.



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                                              Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 31, 2020, I electronically transmitted the attached document

   to the Clerk of Court using the Electronic Case Filing System, which will transmit a Notice of

   Electronic Filing and a copy of the document to all counsel who have entered an appearance in this

   case. I further certify that I transmitted the attached document in both PDF and Word format to

   Courtroom Deputy Lisa Lyles.




                                                         s/ Mithun Mansinghani
                                                        MITHUN MANSINGHANI
